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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION




       VON DUPRIN, LLC,                          )
                                                 )   Cause No.
                 Plaintiff,                      )   1:16-cv-1942-TWP-DML
                                                 )   Indianapolis, Indiana
           vs.                                   )   August 1, 2019
                                                 )   8:38 a.m.
       MORAN ELECTRIC SERVICE, INC.,             )
       MAJOR HOLDINGS, LLC,                      )
       MAJOR TOOL AND MACHINE, INC.,             )
       and ZIMMER PAPER PRODUCTS                 )
       INCORPORATED,                             )
                                                 )        VOLUME VI
                 Defendants.                     )




                                Before the Honorable
                                 TANYA WALTON PRATT

                        OFFICIAL REPORTER'S TRANSCRIPT OF
                                   BENCH TRIAL




       Court Reporter:                     David W. Moxley, RMR, CRR, CMRS
                                           United States District Court
                                           46 East Ohio Street, Room 340
                                           Indianapolis, Indiana      46204
                     PROCEEDINGS TAKEN BY MACHINE SHORTHAND
              TRANSCRIPT CREATED BY COMPUTER-AIDED TRANSCRIPTION
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    1                             (In open court.)
    2              THE COURT:    You may be seated.
    3              And, Witness, if you would remain standing, I'll get
    4 you sworn in.      Would you raise your right hand?
    5              (The witness is sworn.)
    6              THE COURT:    You may have a seat.
    7              So, good morning, everyone.       We are back on the
    8 record, Von Duprin, LLC, versus Moran Electric Service, Inc.,
    9 Major Holdings, LLC, Major Tool and Machine, Inc., and we are
   10 here for the continuation of our bench trial.            And when we
   11 adjourned yesterday, I believe Moran had rested, and Major
   12 Tool called one witness.
   13              And you have another witness on the stand; is that
   14 correct?
   15              MR. GARDNER:     We do, Your Honor.
   16              THE COURT:    All right.
   17              MR. BOWMAN:    And we have a preliminary matter to
   18 address, two things.
   19              THE COURT:    Certainly.
   20              MR. BOWMAN:    First, Moran has a crossclaim against
   21 Major Tool and Machine under the Indiana Environmental Legal
   22 Action Statute --
   23              THE COURT:    Okay.
   24              MR. BOWMAN:    -- that is in addition to just the
   25 CERCLA claim, and we're going to dismiss that so that -- and
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    1 we've talked with counsel for Major Tool about that -- it
    2 streamlines the case, and is appropriate under the
    3 circumstances.      So we want that on the record.        So Moran
    4 Electric is withdrawing its crossclaim against Major Tool and
    5 Machine and Major Holdings as asserted only under the Indiana
    6 Environmental Legal Action Statute.
    7              THE COURT:    Okay.   Got that, Tanesa, for the minute
    8 sheet?
    9              MR. BOWMAN:    And then, finally, we submitted into
   10 evidence the deposition of Richard Phelps, I think --
   11              THE COURT:    Correct.
   12              MR. BOWMAN:    -- and we did not want to open it.         We
   13 weren't certain if the exhibits were there.           Mr. Menkveld did
   14 that.    And we do have to submit to the Court, and I believe
   15 counsel has it, also, Exhibit 12 from the Phelps deposition,
   16 is the only one we want to make sure is in the record.             I
   17 think once the deposition is open, all exhibits might be in
   18 there.     But if I can approach, I want to make sure this is
   19 with the Phelps deposition.
   20              THE COURT:    All right.     You may do so.
   21              What number was Phelps, Tanesa?
   22              COURTROOM DEPUTY:     623.
   23              THE COURT:    She has the -- you can give that to
   24 Tanesa, and she'll attach it to 623.
   25              No objection, anyone?
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    1               MR. GARDNER:    No, Your Honor.
    2               MS. KRAHULIK:    No, Your Honor.
    3               MR. BOWMAN:    Thank you.
    4               THE COURT:    All right.    Any other preliminary
    5 matters before we allow -- I believe Mr. Gardner, since he's
    6 been speaking, is going to examine the witness?
    7               MR. GARDNER:    Yes, Your Honor.
    8               THE COURT:    Mr. Gardner, you may.
    9           GARY ELMER HOKKANEN, DEFENDANT'S WITNESS, SWORN

   10                             DIRECT EXAMINATION

   11 BY MR. GARDNER:
   12 Q.    Good morning, Mr. Hokkanen.
   13 A.    Good morning.
   14 Q.    Can you state and spell your name for the Court, please.
   15 A.    Gary Elmer Hokkanen.      That's G-A-R-Y, E-L-M-E-R,
   16 H-O-K-K-A-N-E-N.
   17 Q.    And were you retained by Major Holdings and Major Tool to
   18 offer an expert opinion in this case?
   19 A.    Yes.
   20 Q.    Okay.   And we've got a report pulled up here.         Do you
   21 recognize that on the screen?
   22 A.    That is my rebuttal report, yes.
   23 Q.    Okay.   Would it be helpful if we gave you or if you had a
   24 hard copy in front of you in case we need to reference it
   25 during your testimony today?
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    1 A.    Yes.
    2               THE COURT:    What's the exhibit number, Counsel?
    3               MR. GARDNER:    Von Duprin has marked it as
    4 Exhibit 103.      I can give you a hard copy here if you'd like.
    5               THE COURT:    Thank you.
    6               MR. GARDNER:    And, Your Honor, since the other
    7 expert reports have come in and we may be referencing this
    8 report today, we would offer Mr. Hokkanen's report as an
    9 exhibit.
   10               THE COURT:    Any objection to 103?
   11               MR. MENKVELD:    No objection.
   12               MS. FRENCH:    No objection, Your Honor.
   13               THE COURT:    Exhibit 103 is admitted into evidence
   14 without objection.
   15                                (Defendant's Exhibit 103 was

   16                                received in evidence.)

   17 BY MR. GARDNER:
   18 Q.    Now, Mr. Hokkanen, very generally, what were you retained
   19 to do in this case?
   20 A.    I was asked to examine an expert report by Sam Williams
   21 related to NCP compliance, and I was asked to provide rebuttal
   22 opinions to that report.
   23 Q.    Okay.   Have you ever done any work for Major Holdings or
   24 Major Tool before?
   25 A.    No.
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    1 Q.    Okay.   Before we get to your expert opinions, can you
    2 describe your educational background for the Court?
    3 A.    Yes.    I have a civil engineering degree from the
    4 University of Minnesota, specialized in environmental
    5 engineering.      I received that in 1980.      I also have a master's
    6 degree from the University of Waterloo in earth science.              I
    7 specialized in the field of hydrogeology.           That was 1984.
    8 Q.    What's your current occupation?
    9 A.    I am a consultant at a company called EKI.
   10 Q.    And what are your responsibilities in that role at EKI?
   11 A.    Well, my title, I'm a vice president/principal
   12 hydrogeologies.      I work on projects, deal with clients, bring
   13 work in the door, do the work with others.           I have some
   14 management responsibilities for the firm in my vice president
   15 role.
   16 Q.    And you're here today in an expert role.          Is that how you
   17 devote all of your professional time at EKI?
   18 A.    I do have a pretty robust expert practice.          About 70,
   19 80 percent of my time is spent on expert litigation matters.
   20 Q.    And how is the remainder of the time spent?
   21 A.    I continue to work on contaminated sites, investigation,
   22 and remediation of contaminated sites.
   23 Q.    Okay.   And do those sites include sites that involve
   24 chlorinated solvent contamination?
   25 A.    As a matter of fact, most of them do.         I have several dry
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    1 cleaner sites right now where we're in the middle of either
    2 investigating or remediating these sites.
    3 Q.    Okay.   How long have you worked for EKI?
    4 A.    A very short time.      I joined them about three months ago.
    5 Q.    And where did you work before you started working for EKI?
    6 A.    The prior five years, I worked at a company called
    7 Farallon Consulting.
    8 Q.    And then just briefly, could you describe your work
    9 history from Farallon Consulting back for the Court, please?
   10 A.    Yes.    I've been doing this for about four years so I'll
   11 try to hit it all.       The 10 years prior to Farallon, I had my
   12 own firm.     I was a solo practitioner.       It was called Hokkanen
   13 Environmental.      Ten years prior to that, I worked for a
   14 company based out of California called Geomatrix Consultants.
   15 Prior to that, I worked for several other consulting firms,
   16 including Geraghty & Miller, a national firm; a couple of
   17 local firms in Minneapolis, one called Barr Engineering and
   18 one called EWA.      I started at EWA in 1984 after my master's
   19 program.      Between my bachelor's and master's, I worked at EPA
   20 region nine in San Francisco.
   21 Q.    Okay.   And just to clarify then, other than the EPA, are
   22 the other employers that you described all environmental
   23 consulting firms?
   24 A.    That's correct.
   25 Q.    Okay.   As a result of your work for these environmental
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  1 consulting firms, do you have any experience with the National
  2 Contingency Plan or, as we'll call here today, the NCP?
  3 A.   Yes.    I started my experience at EPA in 1980.         CERCLA or
  4 Superfund was passed in 1980.        I got -- for two years, I was
  5 with a small group in Region 9 and our mission was to identify
  6 potential Superfund sites and then develop the first national
  7 priority list sites for Region 9, and so I got involved to a
  8 certain extent with the NCP during that period.            After my
  9 graduate program, working with consulting firms in the 1980s,
10 the majority of those sites were either EPA led Superfund
11 sites or state led Superfund sites.          And I continued to work
12 on sites where the NCP was a factor into the '90s.
13 Q.    And so just, again, generally for the Court, what is your
14 role -- or what role does the NCP play in the work that you're
15 doing at these sites?
16 A.    Well, at a CERCLA site, either state led or federal led,
17 the NCP lays out the procedures you follow in the
18 investigation and remediation or cleanup of the sites.
19 Q.    And then is it your responsibility to make sure that the
20 sites that you're working on are then in compliance with the
21 NCP?
22 A.    Yes.    You follow the procedures laid out in the NCP,
23 that's correct.
24 Q.    Okay.    And then you noted some work that you did for the
25 EPA.     Was the NCP that was in effect at the time you were
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  1 working for the EPA different than the NCP that's in effect
  2 now?
  3 A.   Yes, it has changed.      Yes, that's correct.
  4 Q.   Are you familiar -- well, let's -- briefly, how has the
  5 NCP changed?
  6 A.   Well, briefly, first of all, it was changed -- the NCP
  7 actually existed before CERCLA was passed, and CERCLA then --
  8 there was a major change to accommodate this new CERCLA law.
  9 Those -- that change came out in about 1982.
10               In 1986, Congress reauthorized and added some
11 amendments to CERCLA.        And then two or three years later, then
12 the NCP was revised again to reflect those changes.             I think
13 the last change was in 1995.         There were some changes then.        I
14 think that's the last one.
15 Q.    Are you familiar with the current NCP requirements?
16 A.    Yes.
17 Q.    And have you performed work involving the -- involving NCP
18 compliance at sites after those amendments?
19 A.    A couple of sites, yes.       The majority of sites, these
20 days, based on my personal experience, aren't done following
21 the NCP rules.       They're done under various state programs
22 where you don't necessarily need to follow the NCP.
23 Q.    Okay.    You testified earlier that you spent a large
24 portion of your time on expert work.           Have you been retained
25 to testify as an expert on the issue of NCP compliance before
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  1 this case?
  2 A.   Yes.
  3 Q.   Approximately how many times?
  4 A.   I believe there were three cases where I had either
  5 testified or provided opinions about NCP compliance.
  6 Q.   And if you recall, who retained you in those cases?
  7 A.   One of them was the U.S. DOJ.        There was an attorney out
  8 of Washington, D.C.       I was retained on a large site in
  9 southern California.       And then the others were private law
10 firms.
11 Q.    When you say the "U.S. DOJ," you mean the United States
12 Department of Justice?
13 A.    Correct.
14 Q.    Okay.    Were any of the opinions that you offered in those
15 cases regarding NCP compliance ever excluded by a court?
16 A.    Not that I'm aware of.
17               MR. GARDNER:    Okay.   Your Honor, at this time, we
18 move that the Court recognize Mr. Hokkanen as an expert in the
19 field of NCP compliance.
20               THE COURT:    Any objection?
21               MR. BOWMAN:    No objection for Moran, Your Honor.
22               MS. FRENCH:    No objection, Your Honor, but we do
23 note that the Courtroom Practices and Procedures of this Court
24 indicate that the Court does not typically admit an expert as
25 an expert witness.       The testimony is simply allowed.
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  1              THE COURT:    We did change that rule because of the
  2 Seventh Circuit telling me to change that rule.
  3              MS. FRENCH:    Okay.   Understood.    Thank you very
  4 much.
  5              THE COURT:    And we did that when about?       Yeah, in
  6 the fall.     So we do have an updated rule.
  7              So the Court will recognize the witness as an
  8 expert.
  9 BY MR. GARDNER:
10 Q.    All right.     Mr. Hokkanen, with regard to this case
11 specifically, you noted at the outset that they had retained
12 you to rebut Mr. Williams' opinion.          Did Major Tool or Major
13 Holdings tell you that you needed to disagree with
14 Mr. Williams' opinions?
15 A.    No.
16 Q.    Okay.    So if you did agree with his opinions, how would
17 that be reflected in your report?
18 A.    I've done a number of rebuttal reports, and I followed the
19 same process in this one.         If I did not disagree, or if I
20 agreed, I didn't mention anything about it.
21 Q.    Are there some aspects of Mr. Williams' opinion that you
22 do agree with?
23 A.    Yes.
24 Q.    Okay.    Now I'm going to focus on the ones that you
25 disagree with or that I think you disagree with.
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  1              MR. GARDNER:    Ms. Woods, can we turn to page 5 of
  2 the PDF here?     I'm sorry.     Let's keep scrolling down.       Stop.
  3 It would be page 3 of his report.         Right there.     That's good.
  4 Thank you.
  5 BY MR. GARDNER:
  6 Q.   Near the bottom of this page, where the heading "Rebuttal
  7 Opinion" starts, you've quoted Mr. Williams' opinion, and his
  8 first opinion was, "Von Duprin has incurred necessary response
  9 costs for site investigation and remediation activities
10 associated with the release and threatened release of
11 hazardous substances on the defendant's properties."             Do you
12 see that?
13 A.    Yes.
14 Q.    Okay.    To offer this opinion, what would Mr. Williams need
15 to know?
16 A.    Well, the first part of that is the necessary response
17 costs, so that would incorporate examining the costs to
18 determine if they were necessary or not.
19 Q.    Okay.    And would Mr. Williams need to determine which
20 costs were associated with releases at the upgradient
21 properties to offer this opinion?
22 A.    I assumed that as part of that opinion, yes.
23 Q.    Okay.    So if he had not determined which costs were
24 associated with releases or threatened releases at these
25 properties, would he have a basis to offer this opinion?
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  1 A.   Well, he -- it's just a general opinion, and he doesn't
  2 break out what costs or who was responsible or how much, so
  3 it's just a general opinion about responsibility of necessary
  4 response costs.
  5 Q.   Okay.    Let's turn to the next page.       I understand the bulk
  6 of your opinion is in response to his second opinion.             And his
  7 second opinion states, "Site investigation activities
  8 performed at the property and study area have been performed
  9 in substantial compliance with the National Contingency Plan."
10               I'm going to start with just a general question.
11 Why would a private party need to perform work in substantial
12 compliance with the NCP?
13 A.    Well, the NCP -- and this was through the amendments in
14 1986, the SARA amendments -- included the provision of private
15 cost recovery, so recovery through private party actions at
16 Superfund sites or sites in general.           And as a part of the
17 requirements for cost recovery in the NCP, one of the
18 requirements was that the work was done in substantial
19 compliance with this document, the NCP.
20 Q.    Okay.    And so if a person is conducting or a party is
21 conducting a voluntary cleanup of a property, then they don't
22 necessarily need to incur costs with the NCP; right?
23               MS. FRENCH:    Objection, Your Honor, leading.
24               MR. GARDNER:    I can rephrase it, Your Honor.        We've
25 been leading, but I can rephrase.
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  1              THE COURT:    Okay.    Rephrase.
  2              MR. GARDNER:    Yep.
  3 BY MR. GARDNER:
  4 Q.   Let me ask it this way.
  5              THE COURT:    So I'll strike the last answer.
  6 Rephrase.
  7              MR. GARDNER:    Yep.
  8 BY MR. GARDNER:
  9 Q.   Does a person conducting a voluntary cleanup of property
10 need to incur costs consistent with the NCP?
11               MS. FRENCH:    Objection, Your Honor, still leading
12 the witness.
13               THE COURT:    I'll let him answer it.
14 A.    No, not necessarily.
15 BY MR. GARDNER:
16 Q.    Okay.
17 A.    I've worked on a number of sites under voluntary programs
18 where there was not a requirement to follow the NCP.
19 Q.    Okay.    But if they want to recover under CERCLA, do they
20 need to incur costs consistent with the NCP?
21               MS. FRENCH:    Objection, Your Honor.      Leading the
22 witness.
23               THE COURT:    I don't think so.     "If they want" -- his
24 question is "if they want to."
25               Why don't you rephrase it.
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  1              MR. GARDNER:    Okay.
  2              THE COURT:    Go ahead and rephrase it.
  3 BY MR. GARDNER:
  4 Q.   A party that wants to recover under CERCLA, as their
  5 requirements relate to the NCP, what do they need to do,
  6 Mr. Hokkanen?
  7 A.   Well, in CERCLA's, I believe it's Section 300.700, the NCP
  8 lists the requirements for private cost recovery.            One of
  9 those requirements is that the work be done under substantial
10 compliance with the requirements of the NCP, the National
11 Contingency Plan.
12 Q.    And you used the term a couple of times.          Mr. Williams
13 used the term in his testimony.          What does the term
14 "substantial compliance" mean for purposes of the NCP?
15 A.    Substantial compliance actually isn't defined in the NCP.
16 Q.    And so, in that context, then, what does it mean?
17 A.    Well, it means that you -- first of all, that you don't
18 have to comply with every single detail in the NCP.             The word
19 "substantial" means that the majority of it needs to be
20 followed.
21 Q.    Okay.    And turning back to Mr. Williams' opinion, he uses
22 the term "site investigations."          When he testified, he also
23 noted that this includes removal activities.            Can you clarify
24 for the Court what the term "removal activities" means under
25 the NCP?
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  1 A.   Well, quite simply, we call remedial investigation work
  2 the process where we collect data to characterize the site, to
  3 find out what contamination is there, where it is, this sort
  4 of thing.     Remediation in general is the cleanup of that
  5 contamination.      There are two types specified in the NCP.         One
  6 is called a removal action and the other is a remedial action.
  7 Removal actions, in general, are done under a quicker
  8 timeframe.     It's a problem that needs to be addressed in a
  9 short timeframe.      Remedial actions, over a much longer
10 timeframe.
11 Q.    Okay.    Are there multiple sections or requirements under
12 the NCP that apply to removal actions?
13 A.    There is a Section 300.450, and that addresses
14 specifically removal actions.
15 Q.    And then are there other sections within NCP that also
16 apply to removal actions?
17 A.    In general, yes.      That 300.415 is specific to removal
18 actions.      There are other sections that apply through that
19 process, that's correct.
20 Q.    Okay.    I want to discuss some of those individually.
21               MR. GARDNER:    Your Honor, I have hard copies.        We'll
22 put the -- or the -- the regulation up on the screen, but I
23 would also like to give him a hard copy, if I may?
24               THE COURT:    You may.
25               MR. GARDNER:    And I've got a hard copy for you, if
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  1 you'd like.
  2 BY MR. GARDNER:
  3 Q.   Mr. Hokkanen, those are in front of you, if you need to
  4 reference them.      I will say that I don't think most of my
  5 questions will involve you to read them, but if you need them.
  6              Let's start with Section 40, CFR Section 300.150.
  7 Mr. Williams testified that Von Duprin's actions complied with
  8 Section 300.150.      What does this section require?
  9 A.   It's 150, 150?
10 Q.    150.
11 A.    300.150 are requirements for the development of what we
12 call health and safety plans.         This covers the procedures you
13 do to protect your own health and the safety on the site of
14 the workers.
15 Q.    Okay.    And are they called HASPs in your --
16 A.    HASPs is the acronym for a health and safety plan.
17 Q.    Okay.    When is a HASP required under the NCP?
18 A.    A HASP is required anytime you do work on a site.            So when
19 you start out collecting data during what we call a remedial
20 investigation, you develop one of these documents to ensure
21 the health and safety of the workers.
22 Q.    So if Mr. Williams had testified that response actions
23 taken before August 2014 substantially complied with this
24 section, but he could not identify any HASP for work performed
25 before August 2014, would you agree with his opinion?
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  1 A.   No.   One of my rebuttal opinions was that no health and
  2 safety plans were documented in his expert report.            Therefore,
  3 I couldn't verify that that work was done under compliance
  4 with the NCP, and I concluded that it wasn't because there
  5 weren't any HASPs that I could examine.
  6 Q.   Okay.    Mr. Williams also testified that Von Duprin
  7 complied with Section 300.160.
  8              MR. GARDNER:    Ms. Woods, could we pull that section
  9 up, please?
10 BY MR. GARDNER:
11 Q.    What does Section 300.160 require?
12 A.    There are several things in 160.         The title of it kind of
13 speaks for itself, documentation and cost recovery.             And as
14 part of that, it requires that costs expended during the
15 investigation and cleanup of a site be documented so you could
16 verify that the costs were necessary costs for that work.
17 Q.    Okay.    And does this section require an accurate
18 accounting of private party costs incurred for response
19 actions?
20 A.    That's the language in that section, that's correct.
21 Q.    Okay.    And just generally for the Court, what does that
22 language mean?
23 A.    Well, you need some way to determine what activities were
24 conducted during the work at a site, some information about
25 what was done, were you sampling wells, were you collecting
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  1 data, what were you doing, and the costs associated with that.
  2 Q.   Okay.    And if you're determining whether a party has kept
  3 an accurate accounting of private party costs for response
  4 actions, what do you need to review?
  5 A.   Well, in consulting firms, generally the firms that do
  6 this type of work, we provide invoices to our clients, which
  7 vary to a certain extent about how much information is in
  8 them.    It's helpful to have information about the person that
  9 did the work, how many hours they did something, what it cost,
10 and then even a brief description about what they actually
11 spent that time on.
12 Q.    Okay.    In your experience as an expert, what did you
13 review to determine compliance or noncompliance with this
14 requirement?
15 A.    In previous cases?
16 Q.    Sure.
17 A.    I had one case where that was actually my sole job.            I
18 looked through about a three-foot stack of invoices, went
19 through one by one to determine if those costs actually were
20 done for work on the site or not.
21 Q.    Okay.    So if Mr. Williams had only reviewed a small subset
22 of the thousands of pages of invoices created by one of Von
23 Duprin's environmental consultants, could he offer an opinion
24 that there had been an accurate accounting of private party
25 costs incurred for those response actions?
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  1 A.   Well, you could do it for the invoices that you examine.
  2 But if there's no documentation in what we've been talking
  3 about or invoices, then it would be hard to do that, yes.
  4 Q.   So he could offer the opinion for the small subset of
  5 invoices that he did actually review?
  6              MS. FRENCH:    Objection, Your Honor.      Leading.
  7 A.   That would be my opinion, yes.
  8              THE COURT:    Hold up, sir.    When there's an
  9 objection, let's be quiet.
10               MR. GARDNER:    I can rephrase it, Your Honor.
11               THE COURT:    I'll sustain the objection.       Rephrase.
12               MR. GARDNER:    Okay.
13 BY MR. GARDNER:
14 Q.    If Mr. Williams had only reviewed that small subsection,
15 could he offer an opinion about the entirety of the invoices
16 that had been created and offer an opinion that they had, in
17 fact -- that there had been, in fact, an accurate accounting
18 of private party costs incurred for the response actions in
19 all of the invoices?
20 A.    No.   My rebuttal opinion was that I believe what he said
21 in his expert report, that he reviewed a summary of costs, not
22 invoices.
23 Q.    What if Mr. Williams testified that he did review some
24 invoices, but those invoices did not contain any narratives
25 for the work being performed?         Then, in your opinion, could
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 1 Mr. Williams say that there had been an accurate accounting of
 2 private party costs incurred for those response actions?
 3 A.    It's clearly not ideal.       There, sometimes, in my review of
 4 invoices in the past, you don't get narrative, and so you try
 5 to match up invoices with reports and work that's done and
 6 that sort of thing.       It's clearly not ideal.       It's better to
 7 have some sort of description.
 8 Q.    Okay.    And then I believe earlier you were testifying
 9 about cost summaries.        If Mr. Williams said he reviewed cost
10 summaries for other environmental consultants and those cost
11 summaries did not have -- did not list the people working on
12 the activity, the hours they worked, or the activities they
13 were undertaking, could Mr. Williams support an opinion that
14 that work complied with Section 300.160?
15 A.    Well, the opinion I gave in my rebuttal report was
16 two-fold.      One, that would be quite difficult to do that.
17 Two, that particular summary wasn't referenced or available
18 for me to examine, and so there was no way for me to make that
19 determination.      Without the document itself, I concluded and
20 my opinion was that those costs, based on this section, were
21 not in compliance with the NCP.
22 Q.    Okay.    Let's turn --
23               MR. GARDNER:    Ms. Woods, can we go to
24 Section 300.400, Subsection C?         That's good right there.
25 Thank you.
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 1 BY MR. GARDNER:
 2 Q.    Mr. Williams testified that Von Duprin complied with
 3 Section 300.400(c).       What does this subsection require?
 4 A.    Well, there were several requirements in this subsection.
 5 The one that I focused on in my rebuttal report was
 6 300.400(c)(4) which requires that private parties, "be
 7 sensitive to local community concerns."           My opinion was, based
 8 on my review of documents that Mr. Williams cited, that they
 9 did not substantially meet that requirement.
10 Q.    Okay.    Let's back up just one step.       What does it mean to
11 be sensitive to local community concerns?
12 A.    Well, it's not defined in the NCP in that section.
13 There's quite a bit of language for community relations in
14 other sections of the NCP.        Based on that, in general, what
15 that means -- and CERCLA itself talks about this -- that you
16 need to involve the community in your activities.            You need to
17 inform the potentially affected community in what you're
18 doing, get their feedback, respond to that feedback, because
19 people are impacted by this contamination, so you need to
20 determine what their concerns are and then respond to those
21 concerns.
22 Q.    And in your opinion, is this requirement, that a private
23 party be sensitive to local community concerns, an important
24 requirement under the NCP?
25 A.    Well, Congress certainly thought so, because it
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 1 specifically addressed this in the legislation.
 2 Q.    Okay.    Does communicating with affected -- strike that.
 3               Would communicating with owners and residents of
 4 homes that have been affected by the migration of
 5 contamination alone be considered being sensitive to local
 6 community concerns?
 7 A.    Well, it would be a part of the process.          What the NCP and
 8 the guidance documents at EPA's created to address community
 9 relations, that would be part of it.          However, it also, these
10 guidance documents and the NCP itself, discusses other
11 parties, local officials; city officials, for example; state
12 officials; and also potentially affected parties.            If you have
13 contamination that's moving, you have people who might be
14 affected, they would clearly be concerned about that.
15 Q.    And those other people that you mentioned, the government
16 agents, the other potentially affected residents, would they
17 be considered part of the local community under the NCP?
18 A.    That's my understanding, yes.
19 Q.    Okay.    Would performing all work in accordance with
20 schedules from a government agency like IDEM alone constitute
21 being sensitive to local community concerns?
22 A.    It could, but not necessarily.        If the -- if you're under
23 a state order, for example, and the state order requires you
24 to follow the NCP either directly or spells out the
25 requirements, then, yes.
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 1               My experience, these days, is the majority of the
 2 sites we don't do under strict NCP compliance or even
 3 substantial compliance.        A lot of the voluntary cleanup
 4 programs don't require following the NCP.
 5 Q.    Okay.    So if Mr. Williams had testified that Von Duprin
 6 substantially complied with Section 300.400(c) and was
 7 sensitive to local community concerns because it had
 8 communicated with owners and residents that were affected by
 9 the contamination and was performing work in accordance with
10 government schedules or by IDEM, would you agree with
11 Mr. Williams' opinion?
12 A.    My rebuttal opinion was, no, I didn't agree with that.
13               MR. GARDNER:    Okay.   We can stay on this section,
14 but can we scroll down to Subsection G, Ms. Woods?             That's
15 good right there.       Thank you.
16 BY MR. GARDNER:
17 Q.    Mr. Williams also testified that Von Duprin's activities
18 complied with Section 300.400(g).          Can you briefly describe
19 for the Court what this subsection requires?
20 A.    Yes.    This is the identification of what we call ARARs.
21 It's sort of an arcane part of the NCP.           It's a little
22 confusing.      Essentially what these are are the requirements
23 under federal law, federal regulation, also state law if the
24 state law is as strict or stricter than federal regulation.
25 These are the laws and regulations that you need to follow and
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 1 meet in either the investigation or the remediation of a site.
 2 Q.    And you used the term "ARAR."        Is that an acronym?
 3 A.    It's an acronym that's applicable or relevant and
 4 appropriate requirements.
 5 Q.    Okay.    Let's take these separately.       Is the term
 6 "applicable requirements" defined somewhere under the NCP?
 7 A.    In this section, as a matter of fact, 400 -- 300.400(g),
 8 there's quite a bit of description about what these ARARs
 9 actually are, what you need to look at.
10 Q.    And I guess, to close the loop, is the term "relevant and
11 appropriate requirements" also defined under this?
12 A.    It -- there is discussion about what that means, yes.
13 There's also -- part of this section, there's something called
14 "to be considered," which includes guidance documents and this
15 sort of thing.
16 Q.    Would you need to know these definitions to understand the
17 requirements of this section?
18 A.    That would be helpful, yes.
19 Q.    Would you need to know these definitions to determine
20 whether a private party had complied with this section?
21 A.    I believe so, yes.
22 Q.    Okay.    In general, how can you tell if a party has
23 complied with this requirement?
24 A.    Well, this process is a bit onerous.         I've done it myself
25 at a number of sites.        Essentially what you need to do is
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 1 start with the universe of potential laws and regulations that
 2 might apply to what you're doing at a contaminated site.
 3 These are hazardous waste laws, it could be Clean Air Act,
 4 Clean Water Act, a whole series of laws, and you need to then
 5 examine the requirements of each of these laws and see if they
 6 apply to what you're doing at a site or potentially what
 7 you're doing at a site.
 8 Q.    Should the regulations identified -- should the
 9 regulations be identified and referenced in a document that
10 relates to the work being performed?
11 A.    Yes, that's been my experience.        As I testified, I've
12 actually done this, and so you go through this process of
13 examining each of these laws, see if it applies.            If it
14 doesn't, fine.      If it does, then you determine what -- how it
15 applies to what you're doing at a site.           And then what we do
16 is we document that in some manner.          We document that in a
17 document to the regulator that's overseeing the site.
18 Q.    Does the EPA have guidance for identifying ARARs?
19 A.    There is guidance, yes.       EPA has addressed that.
20 Q.    Are you familiar with that guidance?
21 A.    Yes.
22 Q.    Did you review that guidance before forming your opinion
23 in this case?
24 A.    Yes, I did, and they're referenced in my documents
25 section.
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 1 Q.    Okay.    Are you familiar with IDEM's screening levels,
 2 generally?
 3 A.    Generally, yes.
 4 Q.    Okay.    Would applying IDEM's screening levels to evaluate
 5 site data and establish goals for the soil, soil vapor, and
 6 groundwater satisfy this ARAR requirement?
 7               MS. FRENCH:    Objection, Your Honor, outside the
 8 scope of this expert's disclosed opinions.
 9               THE COURT:    Your response?
10               MR. GARDNER:    I believe that his opinion is that --
11 and I don't want to speak for him -- that Mr. Williams has not
12 complied with this section or that he has not offered enough
13 support that Von Duprin complied with this section.             And as
14 the basis for that, Mr. Williams argued that complying with
15 IDEM's screening levels was sufficient to comply with this
16 section of the NCP.
17               THE COURT:    All right.    What's your -- what's your
18 response to that, Counsel?        Do you have a --
19               MS. FRENCH:    The way the question was asked sounded
20 more like a question for a generalized opinion of whether
21 IDEM's screening levels are sufficient to meet this
22 requirement, which is different than the limited rebuttal
23 opinions offered by Mr. Hokkanen -- or Mr. Hokkanen in this
24 case.
25               THE COURT:    All right.    Why don't you rephrase the
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 1 question.
 2              And for the record, is the acronym A -- it's
 3 A-R-A-R; correct?
 4              THE WITNESS:     That's correct.
 5              THE COURT:    All right.     The court reporter has all
 6 kinds of different things.
 7              COURT REPORTER:     Sorry.
 8              THE COURT:    A-R-A-R.    Thank you.
 9 BY MR. GARDNER:
10 Q.    And then, to rephrase the question, Mr. Hokkanen, if
11 Mr. Williams had testified that Von Duprin satisfied this ARAR
12 requirement of Section 300.400(g) by complying with IDEM's
13 screening levels, would you agree with his opinion?
14 A.    Well, my rebuttal opinion was that, based on my
15 examination of the work that was done to develop cleanup
16 requirements, these ARARs, that the work did not meet the
17 requirements in the NCP.
18 Q.    Thank you.
19              MR. GARDNER:     Ms. Woods, can we turn to
20 Section 300.415, please?
21 BY MR. GARDNER:
22 Q.    Mr. Williams testified that Von Duprin's activities
23 complied with Section 300.415.         Again, on a general level, can
24 you tell the Court what this section requires?
25 A.    300.415, as I testified a little earlier, addresses what
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 1 we call removal actions.        These are cleanup activities that
 2 are done in somewhat of a shorter time period than what we
 3 call remedial actions.
 4 Q.    And are there different elements within this statute that
 5 a private party would have to undertake in order to comply
 6 with this section?
 7 A.    Yeah.    The NCP discusses the different levels of
 8 timeliness, is a good way to put it.          There are three basic
 9 types of removal actions based on time.           The first one would
10 be an emergency action where you have some release or
11 something going on that you need to immediately take care of.
12 There may be a leak of some chemical into a surface water body
13 and you need to take care of it right away.           There's a
14 second level where you identify the need to take some action
15 and you have what the NCP calls a six-month planning period
16 before you take that action.         The third one is where you
17 need to address some release in a fairly timely manner, but
18 you have more than six months to initiate that activity.
19 Q.    Okay.    Does this section require an engineering -- an
20 engineering evaluation and cost analysis?           Does that require
21 that an EECA, as it's called, or an EECA, be prepared?
22 A.    It does for the third category that I talked about.           These
23 are when you have greater than six months to plan for and then
24 implement that removal action.
25 Q.    Okay.    And what is an EECA?
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 1 A.    An EECA is what I would call sort of a mini feasibility
 2 study.     In essence, what it is, it's a process where you look
 3 at different ways to address or clean up some sort of release.
 4 We call those alternatives.         You look at different
 5 alternatives, and then based on an analysis of those
 6 alternatives you then choose one to implement and take care of
 7 the problem.
 8 Q.    Is there EPA guidance relating to creating EECAs?
 9 A.    Yes.
10 Q.    And are you familiar with that guidance?
11 A.    Yes.
12 Q.    Did you review that guidance before forming your opinion
13 in this case?
14 A.    Yes, I did.
15 Q.    Okay.    If an EECA is required, at what point in the course
16 of the work should the EECA be created?
17 A.    You initiate that process right after you determine if a
18 removal action is necessary.
19 Q.    Okay.    If Mr. Williams had testified that removal actions
20 performed for Von Duprin needed to comply with Section 300.415
21 but there were no EECA for those actions, would you agree with
22 his opinion?
23 A.    Well, in my rebuttal report -- well, let me go back to his
24 report.      What Mr. Williams' opinion was was that, for
25 Section 300.415, an EECA was necessary.           I examined the
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 1 documents that he referenced and my opinion was that an EECA
 2 actually was not prepared.
 3 Q.    What is a sampling and analysis plan or a SAP?
 4 A.    A sampling and analysis plan is kind of what it sounds
 5 like.     When we collect samples of either soil, soil gas, or
 6 groundwater, these are the procedures that we use to collect
 7 those samples and sort of industry standard, so it lays out
 8 how you're going to collect samples and what you're going to
 9 do with those samples.
10 Q.    Is a SAP required under this section, 300.415?
11 A.    Yes.
12 Q.    Okay.    If Mr. Williams testified that work performed
13 before 2014 complied with Section 300.415 but no SAP was
14 created before 2014, would you agree with his opinion?
15 A.    Well, again, I examined the documents that he referenced,
16 and I was unable to find a sampling and analysis plan prior to
17 that date.
18 Q.    Okay.
19 A.    So my opinion was that, based on a lack of sampling and
20 analysis plans, no, that work did not substantially comply
21 with the NCP.
22 Q.    Okay.    Last requirement under this section relates to a
23 QAPP, Q-A-P-P.      Can you describe to the Court what that means?
24 A.    Yes.    Again, it's sort of an arcane document that we
25 create, but it's a very important document.           This is how we
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 1 handle the data that's generated through our sampling, and
 2 it's going -- it's the procedures and processes that we use to
 3 ensure that the data is reliable and accurate and we can use
 4 that for the development of our remediation plans.
 5 Q.    Okay.    When a QAPP is required, when in the course of the
 6 work should it be created?
 7 A.    What the NCP requires is that a QAPP be created before you
 8 start collecting data, and so the very purpose of the QAPP is
 9 to make sure that the data that you collect is reliable, and
10 so that would be right at the front end of the investigation
11 process.
12 Q.    If Mr. Williams had testified that activities performed
13 before May 2017 needed to comply with Section 300.415 but he
14 could not identify a QAPP created before May 2017, would you
15 agree with his opinion?
16 A.    Well, what you're referencing is that a QAPP indeed was
17 submitted to the state agency in May of 2017 that then met the
18 requirement in the NCP.        Again, I examined the documents prior
19 to that and I did not see a QAPP in any of the documents, and
20 so my conclusion was, because there was no QAPP that was
21 required in the NCP, that, no, that work then did not meet the
22 NCP.
23 Q.    Okay.    Final sections here, the CFR.       We can lump them
24 together.
25               MR. GARDNER:    And, Ms. Woods, you don't need to pull
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 1 any of them up yet.
 2 BY MR. GARDNER:
 3 Q.    But I want to discuss 300.155, 300.415, and 300.430.            Do
 4 all of those sections contain community relations requirements
 5 under the NCP?
 6 A.    Portions of them, yes.
 7 Q.    Okay.    Generally, what are the objectives of those
 8 community relations requirements in those sections?
 9 A.    Again, in a general sense, and I believe I testified
10 earlier, what the NCP requires is the involvement of the local
11 community.      And so what that means and what is described in
12 these various sections of how to do that is to identify,
13 first, who the community is, inform the community about your
14 activities, solicit feedback from the community about what
15 you're doing, and then address whatever concerns or questions
16 they might have.
17 Q.    Okay.    Has the EPA issued any guidance on the community
18 relation sections of the NCP?
19 A.    Yes.
20 Q.    Have you reviewed that guidance?
21 A.    Yes.
22 Q.    And were you familiar with it before you formed your
23 opinion in this case?
24 A.    Yes.
25 Q.    Okay.    Can you give the Court an example of the types of
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 1 requirements, community relations requirements, that are
 2 contained in these sections?
 3 A.    A couple of examples.      One is mechanisms to inform the
 4 public, as I testified, what you're doing.           This could be
 5 development of a fact sheet.         It could be notices to the local
 6 community.      Part of that process would be informing the
 7 local -- the local officials, for example, who then might
 8 communicate to their constituents.          That's one way.
 9 Q.    Are public meetings ever required under these sections?
10 A.    Public meetings sometimes are conducted.          I've been part
11 of those myself over the years, so that's another process,
12 yes.
13 Q.    If Mr. Williams testified that Von Duprin had
14 substantially complied with these community relation
15 requirements by communicating with downgradient property
16 owners and communicating with IDEM, would you agree with his
17 opinion?
18 A.    Well, again, I examined his opinion.         I examined the
19 documents that he cited.        My conclusion was that the public
20 outreach that they did was primarily for the purpose of
21 gaining access to properties that potentially could have been
22 affected by the downgradient contamination, so it was trying
23 to gain access and then gain permission to potentially put in
24 some sort of mitigation if that was necessary.            The sort of
25 requirements and community relations that are spelled out in
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 1 the NCP, my opinion was, no, that the activities did not
 2 meet -- substantially meet that requirement.
 3 Q.    If a state government oversees a private party's response
 4 activities, does the private party necessarily comply with the
 5 NCP?
 6 A.    And I believe you've asked this before in a different way.
 7 But if the state agency requires that you follow the process
 8 of the NCP, then, yes.        But just the mere fact that you're
 9 working under the oversight of a state agency, not
10 necessarily.
11 Q.    Okay.    Could you give the Court an example of how the
12 NCP's community relations requirements differ from IDEM's?
13 A.    IDEM requires the development of a community relations
14 plan, which has now been done when you submit what's called a
15 remediation work plan, so those are what you plan to do to
16 clean up a site.       The NCP has requirements for community
17 relations prior to that during the investigation process.
18 Q.    Okay.    So if Mr. Williams testified that Von Duprin had
19 substantially complied with Sections 300.155, 300.415, and
20 300.430 because it complied with IDEM's guidelines, would you
21 agree with his opinion?
22 A.    Well, my rebuttal opinion was no.
23 Q.    Okay.
24               MR. GARDNER:    Ms. Woods, let's go back to his report
25 just briefly.
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 1 BY MR. GARDNER:
 2 Q.    I want to ask you a couple of questions about
 3 Mr. Williams' final opinion.
 4              MR. GARDNER:     It is on page 8 of his report.       Right
 5 there.     Thank you.
 6 BY MR. GARDNER:
 7 Q.    Mr. Williams' third opinion was: "Remedy selection and
 8 remediation within the study area has been performed in
 9 substantial compliance with the NCP."          What section of the NCP
10 applies to remedial actions?
11 A.    Well, we've already talked about Section 300.415 that
12 applies to removal actions.         Remedial actions, usually the
13 ones that take place over a longer period of time, that's
14 Section 300.430.
15 Q.    And on a very general level, what does Section 300.435
16 require?
17 A.    Well, 430 -- excuse me.       430 is the remedial
18 investigation.      435 is the remedial action.       And what that
19 requires is the process to develop alternatives for cleaning
20 up or remediating a site.        And it describes in quite some
21 detail about the process you need to go through to ultimately
22 determine what you're going to do in terms of remediation at a
23 site.
24 Q.    So if Mr. Williams did not consider Section 300.435, could
25 he support an opinion that any remedial work had substantially
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 1 complied with the NCP?
 2 A.    Well, again, the NCP addresses requirements for remedial
 3 actions in Section 300.435, so, no, you would need to consider
 4 that to determine if you were in compliance or not.
 5 Q.    Okay.    Mr. Williams testified that costs that Von Duprin
 6 had paid through settling a separate litigation were costs
 7 incurred consistent with the NCP.
 8               Are you aware of any provision in the NCP that
 9 relates to costs incurred in settling a litigation?
10 A.    I have read the NCP's pertinent sections a number of
11 times.     I have not seen any language to that effect.
12 Q.    Okay.    The provisions in the NCP that we've discussed and
13 that Mr. Williams discussed used the term "lead agency."
14               When a private party is undertaking the response
15 actions, what does the term "lead agency" refer to?
16 A.    Well, it's a bit confusing.       The NCP was basically written
17 for federal agencies, so to guide federal agencies on dealing
18 with releases.      And so the lead agency, again because it was
19 written for federal agencies, the language is written
20 basically addressing federal agencies.
21 Q.    Okay.    So in this case, today, would that term "lead
22 agency" refer to Von Duprin?
23 A.    In general, yes.     Basically, if you're going to, again in
24 Section 300.700, seek private cost recovery, and you follow
25 the NCP, then, yes, if you're doing a remedial investigation,
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  1 for example, and it says "lead agency," it's actually the
  2 private party doing the work.
  3 Q.   Okay.    And if Mr. Williams had testified that it was
  4 IDEM's responsibility to perform community relations
  5 requirements in this case, would you agree with him?
  6 A.   In part, the agency does have a role, but, for example,
  7 the private party would develop the community relations plan
  8 and be involved in that process, and the agency itself then
  9 has a part of that process.
10 Q.    Okay.    Final question, Mr. Hokkanen:       The testimony you
11 offered here today, what did you rely on to form those
12 opinions?
13 A.    I relied on my experience working on sites following the
14 NCP.     I listed a series of documents that I reviewed, both
15 documents that were done -- work on the site and then various
16 guidance documents that I looked at.
17               MR. GARDNER:    Nothing further at this time, Your
18 Honor.
19               THE COURT:    All right.    Thank you.
20               And who will cross-examine first?        Okay.
21 Ms. French, you may.
22               MR. GARDNER:    Thank you.
23                              CROSS-EXAMINATION

24 BY MS. FRENCH:
25 Q.    Good morning, Mr. Hokkanen.
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  1 A.   Good morning.
  2 Q.   Do you recall being asked at your deposition whether Von
  3 Duprin incurred some necessary response costs?
  4 A.   Yes.
  5 Q.   And did you agree at your deposition that Von Duprin
  6 incurred necessary response costs in its work at this site?
  7 A.   Some -- yes, I did.      Some of them were necessary.
  8 Q.   Did you agree at your deposition that some of those costs
  9 were incurred to investigate and remove harm associated with
10 upgradient contamination?
11 A.    Not specifically.      I don't know if you could give me the
12 section.
13 Q.    Sure.
14               I believe at your deposition, you were asked, "When
15 you say that he did not specify which costs are associated
16 with releases on the property, can you tell me what that
17 means?"
18               And you discussed your rebuttal to that and
19 concluded your response, saying, "And I agree that in the
20 first part of my rebuttal, that they" -- being Von Duprin --
21 "incurred response costs at and in the vicinity of the
22 property," and that you read documents where they investigated
23 the site and the surrounding area; is that correct?
24 A.    I believe, if that's what I said, yes.
25 Q.    We agree that Mr. Williams' opinion does not attempt to
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  1 allocate costs among the upgradient parties?
  2 A.   That's correct.
  3 Q.   Do you agree that site investigation is a separate
  4 category of costs addressed by the NCP?
  5 A.   Remedial investigation activities; is that the question?
  6 I'm sorry.
  7 Q.   Yes.    Is site investigation separate from removal or
  8 remedial actions under the NCP?
  9 A.   It is a separate activity, yes.        It's the collection of
10 data to determine if you need to do either removal or remedial
11 action, and the data that you generate from that is used to
12 help make that determination.
13 Q.    And I believe you stated that substantial compliance is
14 not specifically defined in the NCP; is that right?
15 A.    That's correct.
16 Q.    Do you recall being asked at your deposition that --
17 sorry.
18               Do you recall stating at your deposition that
19 substantial compliance is a matter of opinion?
20 A.    And -- yes.     What I testified to was that I related my
21 opinions about substantial compliance for this matter in my
22 rebuttal report.
23 Q.    Is substantial compliance a standard that applies to a
24 private party's action as a whole or as to each individual
25 task completed by a private party?
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  1 A.   Well, Section 300.700, which spells out the requirements
  2 for private cost recovery, spells out that you need to
  3 substantially comply with a series of provisions -- series of
  4 sections -- excuse me -- in the NCP, so it requires
  5 substantial compliance with all of those sections.
  6              MS. FRENCH:    Mr. Bartholomew, could you pull up
  7 Section 300.700(c)(3)(I), please.
  8              I think we need to switch to his screen.         Thank you.
  9 BY MS. FRENCH:
10 Q.    Could you read 300.700(c)(3)(I) for the Court, please?
11 A.    It's a little small.      Hang on.
12               MS. FRENCH:    Can we enlarge it, please,
13 Mr. Bartholomew?       It's the very first paragraph on this page.
14               THE WITNESS:    I think I can read it from here.        Oh,
15 there it is.      Thank you.
16 A.    "A private party response action will be consistent with
17 the NCP if the action, when evaluated as a whole, is in
18 substantial compliance with the applicable requirements in
19 paragraphs 5 and 6 of this section and results in a CERCLA
20 quality cleanup."
21 BY MS. FRENCH:
22 Q.    Does the NCP also specify that response actions will not
23 be considered inconsistent with the NCP if they're immaterial
24 or in substantial deviations from the NCP's requirements?
25 A.    I believe that's correct, yes.
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  1 Q.   And your experience as a regulator at the EPA was from
  2 1980 to 1982; correct?
  3 A.   Correct.
  4 Q.   So that regulatory experience was prior to the
  5 implementation of the SARA amendments; correct?
  6 A.   Yes.
  7 Q.   I believe you testified earlier regarding
  8 Section 300.400(c), which discusses fund finance actions.             Do
  9 each of the provisions within 300.400(c) apply to privately
10 funded actions?
11               MS. FRENCH:    And we can pull up 300.400(c), if
12 that's helpful.       One page back, please.
13 A.    I don't believe so, no.       There's some that are addressed
14 to the federal agency.        In this case, EPA.
15 BY MS. FRENCH:
16 Q.    And this is not a Superfund or federally funded site, is
17 it?
18 A.    That's correct.
19 Q.    Do you agree that the NCP does not specify a specific
20 format for the identification of ARARs in a response action?
21 A.    It identifies what they are, and the guidance documents
22 that EPA has developed go into much, much greater detail about
23 how to go through that process.
24 Q.    But do you recall being asked at your deposition whether
25 the only way to comply with 300.400(g) is to list in your
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  1 report all of the regulations that you found to be
  2 inapplicable?
  3 A.   That was my testimony, yes, and --
  4 Q.   I believe that was the question.
  5 A.   Oh, sorry.
  6 Q.   Your response -- do you recall being asked that question?
  7 A.   Yes, I do.
  8 Q.   And do you recall your response to that question from your
  9 deposition?
10 A.    Not specifically.      In general, I do, but if you have the
11 specifics.
12 Q.    Certainly.     At your deposition, you responded that, "No,
13 the process that you go through is you list the ones that
14 potentially are applicable, and you go through a process of
15 comparing them with your response action to determine which
16 ones you need to comply with.         Now you don't necessarily have
17 to list every single one out."
18               Do you recall that testimony?
19 A.    Yes.
20 Q.    Do you agree that the NCP does not specify a format for
21 sampling analysis plans?
22 A.    That is correct.      Their guidance documents discuss that.
23 Q.    And similarly, the NCP does not specify a format for a
24 quality assurance project plan; correct?
25 A.    Not specifically, no.
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  1 Q.   Does the NCP specify when the clock begins to run for
  2 purposes of determining whether a removal action is time
  3 critical?
  4 A.   The NCP actually doesn't use the word "time critical."
  5 Q.   So the answer to my question is, no, it does not specify
  6 when the clock begins to run?
  7 A.   Not for the term "time critical," no.         It specifies -- as
  8 I testified to earlier, there are two types -- three types,
  9 actually, I testified to:        Emergency; the next removal action
10 is one that you have less than six months to plan for; and the
11 other one is where you have greater than six months to plan
12 for.
13 Q.    So going back to your deposition, do you recall being
14 asked, "How do we distinguish between a time critical removal
15 action and a non-time-critical removal action"?
16 A.    I was asked that, yes.
17 Q.    And do you recall what your response was?
18 A.    Not specifically, no.
19 Q.    Your response was, "Well, the NCP has some.           It partially
20 defines it.      For example, the first one is a removal action
21 that will be in place for greater than 120 days.             And the
22 second one is a removal action where you have six months to
23 essentially plan removal action.          Now, that second one, from
24 what I can tell from the NCP, that isn't really specifically
25 defined when the clock starts, for example."
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  1              Do you recall that testimony?
  2 A.   Yes.
  3 Q.   Does ongoing monitoring count toward the six-month time
  4 period for a time critical removal action?
  5 A.   Could you define "ongoing monitoring"?
  6 Q.   Certainly.
  7              So if you continue to monitor the effectiveness of a
  8 removal action following its implementation, does that count
  9 towards the six-month planning period?
10 A.    No.
11 Q.    Have you reviewed all reports and documents associated
12 with Von Duprin's response actions in the plume area?
13 A.    Could you repeat that question, please?
14 Q.    Certainly.
15               Have you reviewed all of the reports and documents
16 associated with Von Duprin's response actions in the plume
17 area?
18 A.    Well, the documents I reviewed are listed in my rebuttal
19 report.      There may have been documents that I didn't review or
20 list.     I tried to be fairly comprehensive.
21               MS. FRENCH:    Could we pull up Exhibit 106?       And
22 could we go to Exhibit B?         I'm not totally sure of the PDF but
23 it's the last section, and it should be about 18, 19 pages
24 from the back of the document.         Thank you.     A little bit
25 further.      Sorry, the other way.      That's good.
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  1 BY MS. FRENCH:
  2 Q.   This is appendix B or Exhibit B to Mr. Williams' expert
  3 report.    Did you review every document listed in this exhibit
  4 for the purposes of forming your opinion?
  5 A.   I don't believe I reviewed every document, that's correct.
  6 Q.   Is it your opinion, as stated in your expert report, that
  7 Von Duprin's response actions in the plume area do not
  8 substantially comply with the NCP based only on your
  9 disagreement with Williams' opinion?
10 A.    Could you repeat that question?
11 Q.    Sure.    I'll rephrase.
12               Is it your opinion that Von Duprin's response
13 actions in the plume area do not substantially comply with the
14 NCP based only on your disagreement with Mr. Williams'
15 opinion?
16 A.    I don't completely understand your question.           I guess how
17 I'll answer that is that I reviewed his opinions, and in my
18 rebuttal report I was very specific about what portions of his
19 opinions that I disagreed with.
20 Q.    So you did not render an independent opinion regarding
21 whether or not Von Duprin, in fact, complied with the NCP?
22 A.    That's correct.     I responded in my rebuttal report to his
23 opinions.
24 Q.    In Exhibit 106, if we can go back to what's marked as
25 page 24 on the paper copy of that report, so probably 28 on
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  1 your copy, did you review every document listed in this
  2 references section of Mr. Williams' report in rendering your
  3 opinions?
  4 A.   Well, I would have to go back and compare that to my
  5 reference list, so I'm -- as I sit here, I'm not certain.
  6 Q.   You don't recall a process of looking at each document
  7 listed in that report?
  8 A.   That was the process that I tried to carry out.           There may
  9 have been a few that, for whatever reason, weren't on the IDEM
10 site or I didn't have access to, but that actually was my
11 process, to go through this reference list, try to locate all
12 of these documents.
13 Q.    Did you ask counsel to provide those documents to you so
14 you could review them?
15 A.    The ones that I couldn't find on the IDEM site, yes.
16 Q.    Is it possible that additional information and reports you
17 never reviewed would confirm that Von Duprin's actions at the
18 site did, in fact, substantially comply with the NCP?
19 A.    Well, anything's possible.       I base my opinions on the
20 documents that I reviewed.
21 Q.    Did you review any invoices from Geosyntec in reaching
22 your opinion that Von Duprin's response costs were not
23 properly accounted?
24 A.    What I did is I reviewed his expert report.           As I
25 testified to earlier, I didn't see any reference to any
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  1 invoices for anyone, including Geosyntec.
  2 Q.   Did you request any invoices to conduct your analysis?
  3 A.   No.   I was relying on Mr. Williams' expert report.           I
  4 didn't do an independent analysis.         What I was asked to do was
  5 to provide rebuttal opinions to his expert report.
  6 Q.   And you agree that narratives are not always included in
  7 consultant invoices at environmental cleanup sites?
  8 A.   Not always, that's correct.
  9 Q.   Do you agree that "local community concerns" is undefined
10 in Section 300.400(c)(4) of the NCP?
11 A.    That's correct.
12 Q.    Where in the NCP does it state that a private party
13 assumes all duties of a lead agency in conducting a private
14 party response action?
15 A.    I couldn't point you to a specific section.           As I
16 testified to earlier, the NCP was not written for private
17 parties.      It was written specifically for federal agencies.
18 So the terminology in the NCP speaks to the lead agency.
19 Typically, that's a federal agency, because it was written to
20 guide federal agencies in responses for releases.
21 Q.    So your answer to my question is that you cannot point to
22 a specific provision that states that a private party assumes
23 the role of the lead agency?
24 A.    Not a specific section, no.
25 Q.    Thank you.
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  1              You stated in your expert report that you do not
  2 believe IDEM oversight is significant enough to satisfy public
  3 participation requirements under the NCP; correct?
  4 A.   My read of IDEM's guidance documents is that it doesn't
  5 meet the same requirements that the NCP does, that's correct.
  6 Q.   Would it influence your opinion if EPA had agreed that the
  7 public involvement opportunities under the voluntary
  8 remediation program were adequate?
  9 A.   I'm not familiar with that, so I can't offer an opinion
10 about that.
11 Q.    Did you review the IDEM remediation program enclosure
12 guides in reaching your conclusions in this case?
13 A.    Yes.
14 Q.    Are you familiar with Section 8 of the remediation program
15 guide, which has been entered as Exhibit 1209?
16 A.    Could you refresh my memory, what that section is?
17 Q.    Yes.    We're going to pull that -- we're going to pull it
18 right up.
19 A.    Thank you.
20               MS. FRENCH:    I believe we need page 176.
21 BY MS. FRENCH:
22 Q.    Does seeing this page refresh your recollection on
23 Section 8 of the remediation program guide?
24 A.    Ah, yes.    Okay.
25 Q.    And I direct your attention to the last bullet on that
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  1 page.
  2              MS. FRENCH:    If we could enlarge that.
  3 BY MS. FRENCH:
  4 Q.   Did you review the memorandum of agreement between IDEM
  5 and EPA that's linked in this section?
  6 A.   No.
  7              MS. FRENCH:    Can we pull that up, please?       Could you
  8 pull up the memorandum of agreement?          Thank you.
  9 A.   The reason -- let me -- can I add to my answer?
10 BY MS. FRENCH:
11 Q.    Sure.
12 A.    The reason I didn't is, it was not specifically cited or
13 referenced in Mr. Williams' expert report.            I had no need to
14 review that.
15 Q.    But part of your opinions is based on your review of
16 IDEM's guidance documents and your determination that they
17 don't substantially comply with the NCP; correct?
18 A.    No.   My review was -- what I did is I reviewed the work
19 that was done by Von Duprin's consultants, and my
20 determination was based on Mr. Williams' opinions, did that
21 work comply with the NCP.         I did not specifically determine if
22 that work complied with IDEM's requirements.
23 Q.    I understand that.
24 A.    What I was asked to do was to determine if that work
25 complied with the NCP.
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  1 Q.   Right.
  2              But earlier in your deposition -- earlier in your
  3 testimony today, you testified that you did not believe that
  4 IDEM's requirements are consistent with the NCP; correct?
  5 A.   I can't -- I don't remember my specific answer.           What I
  6 believe I was asked is:       If a state agency -- if you do work
  7 under the -- under the guidance oversight of a state agency,
  8 does that work necessarily comply with the NCP?            And my answer
  9 was:    Not necessarily.
10 Q.    Didn't you also provide an example of a particular timing
11 provision of IDEM's guidance documents that you believed is
12 inconsistent with the NCP, specifically the timing of
13 community relations plan within the voluntary remediation
14 program?
15 A.    I did, yes.
16 Q.    Okay.    So what I'm asking you today is whether you
17 considered the fact that the EPA has agreed that the voluntary
18 remediation program is -- provides adequate public involvement
19 opportunities and whether that influenced your opinion.
20 A.    No.
21 Q.    So what I would like you to do is look at this memorandum
22 of agreement, which was part of the remediation program guide
23 you reviewed in rendering your expert opinions.
24               MS. FRENCH:    And we'll go to the next page.        One
25 more page, please.       And if we could enlarge the last four
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  1 paragraphs, so the introduction, and then one, two, and three
  2 at the bottom.
  3 BY MS. FRENCH:
  4 Q.   If Region 5 of EPA found that the voluntary remediation
  5 program provides adequate opportunities for public involvement
  6 and technical assistance, how does that -- sorry.            I'll strike
  7 that question.
  8              If you didn't consider whether the EPA found that
  9 public involvement opportunities under the voluntary
10 remediation program were adequate, how can you opine that the
11 public involvement timing requirements under the voluntary
12 remediation program are inconsistent with the NCP?
13 A.    Well, my answer is:      I'm not familiar with this document,
14 and I did not consider it in offering my rebuttal opinions.
15 Q.    Have you ever offered an opinion in an expert report or
16 deposition that a private party's response costs were both
17 necessary and incurred in substantial compliance with the NCP?
18 A.    Yes.
19 Q.    When?
20 A.    I had the case I referenced earlier where I reviewed a
21 big, large stack of invoices and I determined that the vast
22 majority of those costs were necessary and in compliance with
23 the NCP.      There were some that I determined were not, but
24 not -- very little of it.
25               MS. FRENCH:    Can I have the document camera, please?
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  1 BY MS. FRENCH:
  2 Q.   What I'm showing you is page 42 of your deposition at line
  3 9.   Actually, line 11 is where the question begins.           It says,
  4 "Is it true that in every case that you have been engaged as
  5 an expert on NCP issues, you have determined that at least
  6 some of the costs were not compliant with the NCP?"
  7              And what was your response?
  8 A.   "I think that's a fair statement."         And that's actually
  9 what I just testified to.
10 Q.    Great.
11               Are you familiar with case law finding that
12 investigative costs need not comply with the NCP in order to
13 be recoverable?
14 A.    Well, I actually did not go to law school and I don't read
15 cases, so the answer is no.
16 Q.    Is vapor mitigation a remedial action or a removal action?
17 A.    It could be both.
18 Q.    And at this particular site, has vapor mitigation been a
19 removal action or a remedial action?
20               MR. GARDNER:    Your Honor, I'm going to object to
21 outside the scope of his testimony.          He's testified multiple
22 times.     He was here to offer a rebuttal opinion of
23 Mr. Williams' expert report.         This is outside the scope of
24 that report.
25               MS. FRENCH:    I'll withdraw it.
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  1              THE COURT:    Okay.
  2 BY MS. FRENCH:
  3 Q.   So you agree that the recoverability of costs under the
  4 NCP is a legal opinion?
  5 A.   I'm not quite sure I understand your question.           Could you
  6 rephrase that?
  7 Q.   Certainly.
  8              At your deposition, you were asked about a situation
  9 in which a party seeks to recover costs of cleanup from a
10 third party, and the question was, "Is their failure to comply
11 with the NCP, assuming they hadn't fully complied, going to be
12 a bar to cost recovery?"
13               And I believe your response was, "That sounds like a
14 legal question," which you're not qualified to answer.
15               Do you recall that testimony?
16 A.    Yes.
17 Q.    And does that remain your answer today?
18 A.    Could you repeat the question, please?
19 Q.    Sure.    I'll just put it up on the document camera, and
20 we'll go -- so the bottom of 69 begins with, "What if a
21 governmental agency issues an order requiring certain
22 investigation activities, for example?           Does that have a
23 bearing on what the party needs to do as far as NCP
24 compliance?"
25               Your response was, "If the order requires compliance
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  1 with the NCP, then yes.       If the order doesn't require
  2 compliance with the NCP, then not necessarily."
  3              Went to ask, "Let's say the order is silent about
  4 NCP compliance, and the work is carried out in accordance with
  5 the order.     Nobody wants to pay those civil penalties.          The
  6 party then seeks to recover those costs from a third party.
  7 The question is:      Is their failure to comply with the NCP
  8 going to be a bar to that recovery?"
  9              Could you read your response to that question?
10 A.    "Well, that sounds like a legal question, which I am not
11 qualified to answer."
12 Q.    Does that remain your answer today?
13 A.    Well, what I opined on in my rebuttal report was if the
14 work -- what I replied in my rebuttal report were, did the
15 work done by Von Duprin's consultants comply with the NCP.                I
16 did not address cost recovery.
17 Q.    Thank you.
18               And we agree that not every requirement of the NCP
19 must be complied with in order to meet the substantial
20 compliance standard?
21 A.    I don't know if we agree about that.
22 Q.    I believe you testified to that fact earlier in your
23 testimony today.
24 A.    Could you repeat that testimony to me, please?
25 Q.    I don't have a live transcript, but I believe you stated
Case 1:16-cv-01942-TWP-DML Document 245 Filed 08/13/19 Page 58 of 166 PageID #:
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  1 that not every single requirement must be complied with in
  2 order to meet the substantial compliance standard.
  3 A.   Possibly words to that effect, yes.
  4              MS. FRENCH:    Nothing further, Your Honor.       Thank
  5 you.
  6              THE COURT:    Okay.   We're going to take a break,
  7 because it says my real time cache is full, so David needs to
  8 delete some things for me.         So we'll go ahead and have our
  9 morning break, about 10 or 15 minutes.
10               THE COURTROOM DEPUTY:      All rise.
11               (Recess at 9:57, until 10:17.)
12               THE COURT:    We're back on the record.
13               And Mr. Menkveld, you're going to the
14 cross-examination?
15               MR. MENKVELD:    Moran doesn't have any questions of
16 this witness, Your Honor.
17               THE COURT:    Okay.   Any redirect?
18               MR. GARDNER:    Very briefly, Your Honor.
19               THE COURT:    You may.
20                            REDIRECT EXAMINATION

21 BY MR. GARDNER:
22 Q.    Mr. Hokkanen, you were asked a question by counsel about a
23 section of the NCP that addresses immaterial and insubstantial
24 deviations from the NCP.        Do you remember that?
25 A.    Yes.
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  1 Q.   Were Von Duprin's deviations from the NCP that we've
  2 discussed today and that you identified after reviewing
  3 Mr. Williams' report immaterial or insubstantial, in your
  4 opinion?
  5              MS. FRENCH:    Objection, Your Honor.      This goes
  6 beyond this witness's disclosed opinions.          He clearly stated
  7 he was providing rebuttal to Mr. Williams' opinion and not an
  8 independent opinion regarding Von Duprin's compliance with the
  9 NCP.
10               MR. GARDNER:    Well, I think that Mr. Williams'
11 opinions includes an opinion that the work was done in
12 substantial compliance or at least not in an immaterial or
13 insubstantial deviation from the NCP.
14               But, Your Honor, I can rephrase the question to
15 resolve this.
16               THE COURT:    Okay.   Go ahead and rephrase it.
17               MR. GARDNER:    Yeah.
18 BY MR. GARDNER:
19 Q.    If Mr. Williams offered an opinion that Von Duprin's work
20 did not deviate substantially or materially from the NCP;
21 would you agree with that opinion?
22 A.    No.
23 Q.    If a party provides no evidence that some of its work
24 failed to comply with a particular NCP section, can an expert
25 reviewing that work then say that the party had substantially
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  1 complied with the NCP?
  2              MS. FRENCH:    Objection, Your Honor.      It goes beyond
  3 the scope of this expert's disclosed opinions.
  4              MR. GARDNER:    I would disagree with that, Your
  5 Honor.    I think that it is clearly within his scope that
  6 Mr. Williams has not provided the support to say that Von
  7 Duprin's work substantially complied with the NCP.
  8              THE COURT:    I will overrule the objection.       You may
  9 answer the question.
10 A.    Yes, and I actually gave a specific example, if I remember
11 right.     I didn't see an EECA performed, for example, for the
12 removal action; therefore, I concluded it wasn't in
13 substantial compliance with the NCP.
14               THE COURT:    What?   You didn't see an EECA?
15               THE WITNESS:    EECA is the sort of mini feasibility
16 study where you look at alternatives to how you're going to
17 clean up a site.
18               THE COURT:    Okay.
19               THE WITNESS:    That was during the removal action.
20               THE COURT:    All right.
21 BY MR. GARDNER:
22 Q.    Do the guidance documents that you reviewed relating to
23 ARARs, A-R-A-R-S, provide guidance as to how the ARARs should
24 be identified under the NCP?
25 A.    Yes.
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  1 Q.   Did you -- well, strike that.
  2              Counsel asked you questions about
  3 Section 300.400(c)(4) regarding the requirement to be
  4 sensitive to local community concerns.          Do you recall that?
  5 A.   Yes.
  6 Q.   Did you offer a rebuttal to Mr. Williams' opinion
  7 regarding that section because Mr. Williams cited that section
  8 as an applicable section to the work that was being performed
  9 in this case?
10 A.    That's correct.
11 Q.    Okay.    And just generally, on the same note, are the
12 sections that you reviewed and offered an opinion on in this
13 case those that Mr. Williams identified as applicable in this
14 case?
15 A.    Yes.    I rebutted his opinions, yes.
16               MR. GARDNER:    No further questions, Your Honor.
17               THE COURT:    Any questions on those?
18               MS. FRENCH:    No recross.    Thanks.
19               THE COURT:    And no questions on those, Menkveld?
20               MR. MENKVELD:    No.
21               THE COURT:    All right.    Thank you very much.      You
22 may be excused.
23               (Witness excused.)
24               THE COURT:    And I believe you have one more witness?
25               MS. KRAHULIK:    We do, Your Honor.      Major Tool and
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  1 Major Holdings call Robert Walker.
  2              THE COURT:    Mr. Walker, if you would come up front,
  3 up here.     He was getting ready to go out the door.         Up here to
  4 the witness stand, please.        Right over here.     And, sir, if you
  5 would remain standing and raise your right hand.
  6              (The witness is sworn.)
  7              THE COURT:    You may have a seat.
  8              And as soon as your witness is comfortable,
  9 Ms. Krahulik, you may begin your examination.
10               MS. KRAHULIK:    Thank you, Your Honor.
11               ROBERT WALKER, DEFENDANT'S WITNESS, SWORN

12                             DIRECT EXAMINATION

13 BY MS. KRAHULIK:
14 Q.    Good morning.
15 A.    Good morning.
16 Q.    Would you please state and spell your name for the record.
17 A.    Yes.    My name is Robert Walker.      R-O-B-E-R-T, W-A-L-K-E-R.
18 Q.    Mr. Walker, how are you employed?
19 A.    I am a geologist for SME.
20 Q.    And how long have you been with SME?
21 A.    Four years this month.
22 Q.    What is SME?
23 A.    SME is an engineering and consulting firm headquartered in
24 Plymouth, Michigan.        We have an office here in Indianapolis
25 that focuses on geotechnical materials testing, as well as
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 1 environmental science type projects.          We provide our clients
 2 technical services for identifying -- for building properties,
 3 development of properties, and in my case I assist them in
 4 identifying and understanding environmental issues at
 5 properties they may be interested in purchasing or that they
 6 own currently.
 7 Q.    What is your title in your role with SME?
 8 A.    I'm a senior consultant.
 9 Q.    Where have you worked prior to SME?         You've been there for
10 four years.
11 A.    Yeah.    I worked at ATEC, A-T-E-C, Associates, from 1989 to
12 1997.
13 Q.    Uh-huh.
14 A.    Prior to that, I worked -- then, subsequent to that, I
15 went -- I moved to Geraghty & Miller, which became Arcadis,
16 from '97 to 2005.       And then from 2005 to 2015, I worked at ATC
17 Associates.
18 Q.    And what business are each of those companies in, ATEC,
19 Geraghty & Miller, Arcadis, ATC?
20 A.    They're all in very similar businesses.         They are
21 engineering and consulting firms.          ATEC, A-T-E-C, and ATC
22 Associates, both, were very similar to SME in that they
23 offered not only environmental science and environmental
24 consulting services, they also offered the geotechnical and
25 materials testing services.
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 1 Q.    And in each of those jobs, was your role similar to that
 2 that you hold with SME today?
 3 A.    It was, yes.
 4 Q.    Tell the Court briefly about your educational background.
 5 A.    I have a bachelor's degree from -- in geology from
 6 Michigan State University.
 7 Q.    Go Spartans.
 8 A.    Yeah.
 9               And a master's of science degree from Florida
10 Institute of Technology.
11 Q.    And what is your master's of science degree in?
12 A.    I'm sorry.    It's in environmental science.
13 Q.    Do you hold any certifications or designations that you
14 use in your professional capacity?
15 A.    I do.    Early on, I was a certified hazardous materials
16 manager.      And subsequent to that, I actually allowed that to
17 lapse and am a registered licensed professional geologist here
18 in the State of Indiana.
19 Q.    Describe your experience working with environmental issues
20 related to chlorinated solvent contamination.
21 A.    Oh, I've worked with chlorinated solvent sites throughout
22 my career, for 30 years.        My time spent at Arcadis from 1997
23 to 2005, that was probably my sole function, was I had a
24 client that had multiple sites across Indiana that all had
25 chlorinated solvent impacts.         This was a large industrial
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 1 manufacturer in Indianapolis, as well as in Kokomo, that
 2 utilized degreasers, parts washers, solvent storage areas.
 3 And in that regard, I focused on the investigation,
 4 delineation, risk evaluation, and then ultimate remediation of
 5 those -- of those concerns, all of them being -- and solely --
 6 and generally, the solvents I was working with have been
 7 tetrachloroethylene, which is perchloroethylene;
 8 trichloroethylene; and occasionally 111 trichloroethane.              It's
 9 another chlorinated solvent and it's similar.
10 Q.    What are the common terms for those long words you just
11 used?
12 A.    Yeah.    Tetrachloroethylene is PCE; Paul, cat, elephant.          I
13 might use tetrachloroethylene instead of PCE because it's also
14 commonly referred to as perchloroethylene.
15 Tetrachloroethylene and perchloroethylene are one and the
16 same.     And then trichloroethylene is TCE; Tom, cat, elephant.
17 Q.    Do you consider yourself an expert in the investigation,
18 characterization, and remediation of contaminated properties,
19 in particular those contaminated with chlorinated solvents?
20 A.    Yes.
21 Q.    And do you consider yourself an expert in hydrogeology?
22 A.    Yes.
23               MS. KRAHULIK:    Your Honor, we move the Court
24 recognize Mr. Walker as an expert in hydrogeology and in the
25 investigation, characterization, and remediation of properties
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 1 contaminated by chlorinated solvents.
 2              And I will slow down.
 3              THE COURT:    Any objection?
 4              MR. BOWMAN:     I have no objection on behalf of Moran.
 5              MS. KRAHULIK:     As we've done with --
 6              THE COURT:    We've got to let Mr. Griggs respond.
 7              Mr. Griggs?
 8              MR. GRIGGS:     No objection.
 9              THE COURT:    The Court will declare the witness an
10 expert.
11              MS. KRAHULIK:     And as we have done with the other
12 expert witnesses, Your Honor, I would like to provide the
13 Court and Mr. Walker with a copy of his expert report to aid
14 in his testimony.
15              THE COURT:    You may.
16              MS. KRAHULIK:     And this has been marked by Von
17 Duprin in its exhibit set as Exhibit 105.
18              THE COURT:    Any objection to the admission of 105,
19 Mr. Bowman?
20              MR. BOWMAN:     No, Your Honor.
21              MR. GRIGGS:     No, Your Honor.
22              THE COURT:    105 is admitted into evidence.
23                                (Defendant's Exhibit 105 was

24                                received in evidence.)

25              MS. KRAHULIK:     Ms. Woods, if you could pull up
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 1 Exhibit 1001, please.
 2 BY MS. KRAHULIK:
 3 Q.    This is a document we've looked at a lot throughout this
 4 trial.     I want to specifically talk about your involvement
 5 with the properties shown on this map.
 6              When were you first engaged by the Major defendants?
 7 A.    I believe it was in the late fall/winter of 2015.
 8 Q.    And what was the purpose of your engagement then?
 9 A.    That was with relation to a lawsuit between Major Tool and
10 Machine, Major Holdings, and the Moran parties.
11 Q.    And what is your understanding as to what happened with
12 regard to that lawsuit?
13 A.    I believe it was settled.
14 Q.    And you've likewise been asked to serve as an expert
15 witness by Major Tool in this case?
16 A.    That's true.
17 Q.    What documents have you reviewed and considered for
18 purposes of rendering your opinions in this case?
19 A.    I don't believe I could state them all.         It's -- I think
20 during my -- after my deposition with Von Duprin, I looked
21 at -- I think it was over 14,000 files were reviewed.             I think
22 currently it's over 15,000 files that I reviewed.
23 Q.    And when you say "files," you mean 15,000 separate
24 documents of multiple pages?
25 A.    Oh, absolutely, yeah.
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 1 Q.    And is there a place in your report where the documents
 2 reviewed at the time of its preparation can be found?
 3 A.    Yeah, in the back -- in the back of my opinion, I do list
 4 those documents that I relied upon in my response.
 5 Q.    That's at appendix B?
 6 A.    That's not the exhaustive list.        Well, I guess I do have
 7 some of the electronic documents referenced here, too, so,
 8 yeah.
 9 Q.    And that's at appendix B titled "List of Documents
10 Reviewed" in Exhibit 105?
11 A.    That's correct.
12 Q.    And you've reviewed every single document listed there?
13 A.    That is correct.
14 Q.    Did you prepare this report, Exhibit 105?
15 A.    I did.
16 Q.    And what are your opinions, your overarching opinions,
17 generally?
18 A.    Well, I generated -- I have two general overarching
19 opinions related to this -- to the documents, and that is that
20 the -- that the opinions and claims offered by Mr. Williams
21 and Mr. McInnes are not founded on sound scientific principles
22 and/or the data presented in this case.           Second was that I did
23 offer opinions regarding my review of several investigative
24 and remedial -- remediation activities that were conducted at
25 the various sites in this case.
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 1 Q.    And in your report, you break down your opinions by site.
 2 Would it be helpful if we discussed them in that same manner
 3 today?
 4 A.    Yes.
 5              MS. KRAHULIK:     If you look at page 4 of the PDF,
 6 Ms. Woods, of his report, which is Exhibit 105, you have an
 7 introduction, and then Section 2, which is on page 2 of the
 8 report, again page 4 of the PDF, relates to the former Zimmer
 9 facility.
10 BY MS. KRAHULIK:
11 Q.    What opinions did you render related to that specific
12 property?
13 A.    Well, I will tell you that I was shocked originally when I
14 looked at -- when I was referencing Mr. McInnes' opinions, and
15 that is that apparently he looked at 12 documents, and I was
16 shocked by that small of a subset of data in order to develop
17 an opinion.      The -- so that was a concern.
18              Secondly, that the -- I think that he referenced --
19 he references more recent documents that have been created,
20 Phase I, Phase II documents, that in turn referenced previous
21 documents.      And I guess, for an example, in the 2013 Heartland
22 Phase I, that he references that document, that solvents and
23 silicones inside the building.         It sounds scary.     Oh, there's
24 solvents and silicones inside the building.           And I think that
25 if he had reviewed the 2006 Phase I or even the deposition
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 1 offered by David Brown, he would have realized that silicones
 2 are not scary.      It's the term "solvent," and --
 3 Q.    And we're talking about the Zimmer property?
 4 A.    That's right, yes.      This is for the Zimmer.
 5               Well, the Phase I is a little complex because the
 6 Phase I was for the Ertel and the Zimmer Paper Parcel
 7 property.      There's a subsequent -- there's multiple Phase Is
 8 out here for these properties, and adjacent to that is the
 9 Zimmer packaging property, so it can get convoluted.
10               MS. KRAHULIK:    Actually, will you pull up
11 Exhibit 101 -- 1001 again, because I think we need to identify
12 the specific property we're talking about.
13 BY MS. KRAHULIK:
14 Q.    When we were talking about the Zimmer facility property
15 listed in Section 2.0 of your expert report, can you tap on
16 the screen maybe twice on that property?           There you go.
17 A.    (Witness complies.)
18 Q.    So the pink arrow is pointing at the property we're
19 discussing right now?
20 A.    The Zimmer Paper property.
21 Q.    And where is the Zimmer packaging property?
22 A.    The Zimmer packaging property is adjacent, to the east of
23 it, adjacent.
24 Q.    Okay.
25 A.    And according -- reviewing the Phase I report, the same
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 1 site contact for the Zimmer packaging property was also the
 2 contact for the Zimmer Paper packaging property, which was
 3 David Brown, and he was the vice president of operations.              In
 4 his -- in his interview, he acknowledged that there were
 5 solvents at the Zimmer property, but those solvents were ethyl
 6 acetate and -- I'm sorry -- or propyl alcohol, which are
 7 solvents.
 8 Q.    Can you spell those for the benefit of our court reporter?
 9 A.    Oh, gosh.    Ethyl acetate, E-T-H-Y-L, A-C-E-T-A-T-E.         And
10 then propyl alcohol, P-R-O-P-Y-L, alcohol.
11 Q.    Thank you.
12 A.    Those are both solvents, but they are not chlorinated
13 solvents, and that -- that fits very well with the operations
14 that I believe were ongoing, which was this paper, where he
15 also acknowledged that he used waxes and inks and adhesives,
16 and then these solvents, ethyl alcohol and propyl -- I'm
17 sorry -- ethyl acetate and propyl alcohol.           My apologies.
18 Q.    And you are talking about the operations of what company?
19 A.    This is -- this was in the -- this was -- it's the Zimmer
20 Paper property, I believe.
21 Q.    And what company's operation is on that property?
22 A.    Zimmer.
23 Q.    Mr. Brown was the executive of what company?
24 A.    Of Zimmer Paper, of Zimmer.
25 Q.    Okay.    So he wasn't speaking to prior operations?
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 1 A.    No, not at all, and -- but in his -- in his deposition --
 2 or in his deposition, he acknowledged that those two solvents
 3 were used, so that explains what solvents were being used
 4 there.
 5              Additionally, in the Heartland Phase I, the 2013
 6 Phase I, referenced by Mr. McInnes, in the database that you
 7 get when you do a Phase I, in the EDR database, there was a
 8 list of the hazardous waste codes that Zimmer used at that
 9 facility, and those were FOO3, FOO5.          Both of those waste
10 codes are for nonhalogenated spent solvents.
11              Nonhalogenated meaning nonchlorinated.         If you
12 remember from your chemistry in high school, the halogens are
13 all on your right-hand side of your periodic table, and that
14 includes chlorine and bromine and others.
15              So chlorine was not included in those solvents, and
16 that was in -- that's listed in the FOO3, FOO5 waste streams,
17 so that corresponds to the ethyl acetate and propyl alcohol
18 solvents that he recognized.
19 Q.    And used by Zimmer?
20 A.    And used by Zimmer.
21 Q.    Not previous owners of the property?
22 A.    Not previous owners, that's right, and I'm going to get to
23 that in a moment.
24              THE COURT:    All right.     You need to wait and let her
25 ask you questions, please.
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 1              THE WITNESS:     Oh, okay.
 2              THE COURT:    You're kind of testifying by just
 3 telling me what you want me to know.
 4              THE WITNESS:     Oh, okay.
 5              THE COURT:    You may ask your next question.
 6 BY MS. KRAHULIK:
 7 Q.    What other opinions did you render related to the former
 8 Zimmer property?
 9 A.    Well, that the -- Mr. McInnes or -- there's been no
10 indication, no evidence that Major Tool and Machine, Major
11 defendants, has used, stored, or disposed of chlorinated
12 solvents at this -- at this property.
13 Q.    And what opinions do you have related to the Major
14 defendants soil removal and UST removal at the former Zimmer
15 Paper property?
16 A.    Well, I believe that it was incredibly helpful in bringing
17 the -- in remediating the site.         By removing the entire vadose
18 zone, which is the soil between the ground surface and the
19 water table, by removing all of that and replacing it with
20 unimpacted material, you've eliminated a huge contaminant,
21 potential contaminant source, that could eventually or could
22 ultimately leach to the groundwater and then into the
23 groundwater.      By removing that, that can't happen.         That
24 contamination has been eliminated from this -- from this site
25 and from this area.       So I thought it was incredibly helpful
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 1 and not a trivial operation to remove that much soil.
 2 Q.    How much was it?
 3 A.    7,350 cubic yards.      I will say that I think, in my
 4 opinion, I may have switched it to tons in one location.              I
 5 may have referenced it as 7,350 tons, and that's just -- it's
 6 unorthodox to refer to this as cubic yards because you dispose
 7 of it in tons, because that's how you pay for it.
 8 Q.    But you do believe it was 7,350 cubic yards removed?
 9 A.    Yes.   That's what was reported.
10 Q.    Why was it important to remove the soil in the tank?
11 A.    If -- well, for multiple reasons.        If you don't remove it,
12 it will -- it will remain there.          Chlorinated solvents are
13 fairly recalcitrant in the vadose zone, which means they don't
14 break down readily in the soil and will continue to serve or
15 act as a potential source for vapor or groundwater in the
16 future.
17 Q.    And so the sooner you remove them, the better,
18 essentially?
19 A.    Most certainly, and I think that has been demonstrated in
20 the subsequent groundwater samples that have been collected
21 downgradient from the site.
22 Q.    You beat me to my next question.        Is there evidence that
23 you've reviewed that the soil removal and UST removal was
24 effective?
25 A.    Yes.   I think -- yes, I have.
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 1 Q.    And what did you review?
 2 A.    Well, looking at the groundwater that -- the repeated
 3 quarterly groundwater sampling events that were conducted by
 4 QEPI and subsequently Heartland and then even groundwater
 5 samples collected after that, it's evident to me that the
 6 concentrations downgradient of the Zimmer Paper property have
 7 decreased, those groundwater concentrations of
 8 trichloroethylene and perchloroethylene.
 9 Q.    Now, let's turn to the Ertel facility property.           Take a
10 look at Exhibit 1001, which is on your screen.            And would you
11 tap twice on the Ertel property?
12 A.    (Witness complied.)
13 Q.    And that's the property that's now showing the pink arrow?
14 A.    Yes.
15 Q.    What have you concluded specific to the Ertel property?
16 A.    Well, the -- the investigations have been thorough, and
17 the remediation activities, which included the removal of
18 37,000 tons of vadose zone soil, I think, has been incredibly
19 beneficial to the property, so much so that subsequent -- I
20 think this excavation occurred in 2007, December 2007, or
21 September to November.        And that, in October of 2012,
22 Heartland Environmental prepared and submitted an exposure
23 pathway analysis -- or a potential exposure analysis and a
24 no-further-action request to IDEM based on the data they had
25 collected prior to their work and then prior to the
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 1 remediation and then subsequent to that remediation in an
 2 effort to demonstrate that the site no longer poses a risk to
 3 human health or the environment.
 4 Q.    And what did IDEM do with that request?
 5 A.    IDEM granted that request, that no-further-action letter.
 6               Additionally, they submitted a comfort letter
 7 request application that also went to IDEM.           It's a different
 8 department of IDEM.       And that comfort letter request
 9 application was also granted.
10 Q.    And who was the comfort letter issued to?
11 A.    The comfort letter was issued to Major Tool and Machine,
12 Major Holdings.
13 Q.    Explain to the Court a little bit about what a comfort
14 letter is.
15 A.    Okay.    A comfort letter -- the comfort letters kind of
16 came into being over the last 15, 20 years, maybe, 15 years,
17 from IDEM, and they're issued by the Indiana Brownfields
18 Program following their review of all available data that is
19 provided to them, and you're supposed to provide all your
20 available data to them.        And they do a review.      And based on
21 their review, they will evaluate that for is the -- is the
22 requesting applicant a bona fide prospective purchaser, and
23 does the site pose a risk to human health and the environment.
24               And I think I may have gotten off track on your
25 question.
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 1 Q.    No, you're --
 2 A.    Well, the comfort letter is really prepared to provide a
 3 prospective purchaser and a prospective purchaser's lender
 4 with comfort that they're not getting into a huge problem and
 5 that they do have these protections, these bona fide
 6 prospective purchaser protections, and that the site doesn't
 7 pose a risk to human health and the environment.
 8               In addition to the comfort letter, IDEM will list
 9 out -- and they did in this case -- their conclusions relative
10 to the applicant's BFPP receipt, as well as they will include
11 some continuing obligations.
12 Q.    And IDEM said that Major Tool and Machine and Major
13 Holdings were BFPPs for purposes of the Ertel property?
14 A.    That is correct.
15 Q.    Okay.    And IDEM listed out some ongoing requirements, and
16 those, I think, are contained in your report?            And I'm looking
17 specifically at page 5.
18 A.    Yeah.    In page 5, I list off the three bullets that IDEM
19 identified in their comfort letter, and that is that IDEM --
20 in IDEM's opinion, there are no known conditions on the site
21 that constitute an imminent threat and substantial threat to
22 human health or the environment.
23               And the second item is that neither Major Tool and
24 Machine nor any agent or employee of Major Tool and Machine
25 caused or contributed to or knowingly exacerbated the release
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 1 or threat of release of any hazardous substance or petroleum
 2 at the site.
 3 Q.    And the third bullet point?
 4 A.    The third bullet point is that Major Tool and Machine is
 5 eligible for an applicable exemption to liability for the 2045
 6 Dr. Andrew J. Brown Avenue parcel, and I believe that to be
 7 the Ertel parcel.
 8 Q.    What's the significance of obtaining a comfort letter to a
 9 party who is acquiring property that's contaminated by someone
10 else for redevelopment?
11 A.    Well, most of the prospective purchasers want to be
12 comfortable.      That's why they call it a comfort letter.
13 Because in addition to a comfort letter, you can also request
14 a site status letter.        It's the same type of application.        But
15 they wanted -- they want to know that, if something is
16 discovered subsequent to their purchase, that they're not
17 on -- they're not responsible for cleaning it up.            There will
18 be -- again, there will be some continuing obligations that
19 they will have to maintain and prevent exposures at the site
20 itself and maintain the contamination, or contain it, but they
21 want to know that they're not -- they don't have liability
22 that extends forever to everyone.
23 Q.    For things that other people caused?
24 A.    That's right.
25 Q.    What is your overall opinion about the Ertel property as
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 1 it pertains to Major Tool?
 2 A.    Well, clearly -- oh, as far as with Major Tool?
 3               Well, clearly, Major Tool and Machine never stored,
 4 used, or disposed of hazardous solvents or chlorinated
 5 solvents, tetrachloroethylene, trichloroethylene,
 6 dichloroethylene, or vinyl chloride at the Ertel property, nor
 7 have they caused or contributed to the contaminants on that
 8 property.
 9 Q.    And that's evidenced by IDEM's recognition of BFPPs?
10 A.    Certainly.
11 Q.    Let's turn to the Moran property.        All right.    Can you
12 touch on the screen that property?          And it's actually, I
13 think, two parcels but they're contiguous.
14 A.    I put a much smaller --
15 Q.    If you tap twice, I think that does the trick.
16 A.    Okay.    There you go.
17 Q.    There you go.
18               What have you concluded about the Moran property?
19 A.    Well, the remedial -- the corrective action, remedial
20 action, undertaken by Moran -- I'm sorry -- by Major Tool and
21 Machine, which resulted in the removal of about 4600 tons of
22 vadose zone soil from underneath the former Moran motor works
23 shop, I think has had a substantial beneficial impact on the
24 contaminant mass and potential contaminant contribution to the
25 groundwater.
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 1 Q.    We've mentioned vadose zone soil being removed at all
 2 three of the properties we've discussed.           How far down does
 3 one dig to remove all the vadose soil?
 4 A.    Well, you dig to the water table, and I believe at Zimmer
 5 it was to 15 feet and to 17 feet at places.           At Ertel, it was
 6 to 17 feet.      And at Moran, I believe it was 15 feet.         I --
 7 there may have been an occurrence where when they collected
 8 their confirmation samples, there were still some elevated
 9 levels and they went back and over-excavated a little bit
10 deeper.     It gets tricky to dig below the groundwater table.
11 Q.    And would the removal at Moran have a similar -- or did it
12 have a similar effect as that at Zimmer?
13 A.    Well, I would actually expect so, and I think some of the
14 data does support that, yes.
15 Q.    Let me finish my question before you answer just so we get
16 a clear record.
17              But do you have any other opinions related to the
18 Moran property?
19 A.    I think --
20 Q.    Specific to Major Tool.
21 A.    Right, certainly.
22              I think Major Tool and Machine, there's actually no
23 evidence, indication that Major Tool and Machine ever used,
24 stored, or disposed of TCE, PCE, DCE, or vinyl chloride at the
25 Moran -- former Moran properties.
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 1 Q.    And did they cause or contribute -- or is there any
 2 evidence that Major Tool caused or contributed to any
 3 contamination on that property?
 4 A.    No, not at all.
 5 Q.    All right.    Let's turn to the former Von Duprin property.
 6 A.    Okay.    Oh, Threaded Rod.
 7 Q.    Yes.
 8               Can you place an arrow on that property, on
 9 Exhibit 1001?
10 A.    (Witness complied.)
11 Q.    Thank you.
12               And have you set forth any opinions related to the
13 Von Duprin property in your report?
14 A.    I have.
15 Q.    And what are those opinions?
16 A.    Well, I concur with Mr. McInnes that there is -- there are
17 indications that a release of TCE, PCE, DCE -- well, I'm going
18 to stick with PCE and TCE -- have occurred at the Von Duprin
19 property and that the operations that were -- that took place
20 on that property are operations that traditionally do result
21 in contamination of chlorinated solvents to the soil and the
22 groundwater.
23 Q.    When you say "operations," what specific operations are
24 you thinking of?
25 A.    Those operations would include plating operations where
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 1 you would use a degreaser, a vapor degreaser; parts washers,
 2 including painting, which you'll use -- you'll clean the parts
 3 before you paint them.        So these cleaning operations,
 4 historically or traditionally at our industrial facilities
 5 will result in these kinds of -- this kind of impacts.
 6 Q.    And how are those impacts documented in the documents and
 7 records that you've reviewed?
 8 A.    Well, I think the reports back to 1987 document the
 9 presence of some of these compounds in the shallow soils and
10 groundwater.      I think that the levels that were seen at the
11 Von Duprin property are higher than were seen -- this is in
12 groundwater -- higher than were seen anywhere else.             The --
13 the levels -- again, and this is where I had a disagreement
14 with Mr. Williams, and that is I believe that the remedial
15 efforts, investigative efforts that they've undertaken would
16 have had to have been done regardless of any upgradient
17 contribution, if any.
18 Q.    So the releases at the Von Duprin property alone would
19 have required investigation and remediation regardless of
20 releases at Moran or Zimmer or Ertel or anywhere else?
21 A.    I believe that to be true.
22 Q.    Mr. Bowman walked through some exhibits with a witness
23 earlier this week and created kind of neat chart of the
24 highest concentrations of TCE and PCE in the shallow soils at
25 each of the properties and some dates when those impacts were
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 1 discovered and removed.
 2 A.    For soil?
 3 Q.    For soil.    I'm telling you this.      You weren't here.
 4               So I asked you, in connection with your testimony,
 5 to create a demonstrative exhibit in a similar fashion with
 6 regard to groundwater contamination.
 7 A.    Yes.
 8 Q.    And you provided that to me?
 9 A.    I have.
10               MS. KRAHULIK:    Your Honor, can I put that up on the
11 ELMO?     It's a demonstrative.      We're not seeking admission.
12 And I'll give copies to counsel.
13               THE COURT:   You may.
14 BY MS. KRAHULIK:
15 Q.    And rather than walk you through each of these, and to
16 save a little time today, is this the demonstrative that you
17 created?
18 A.    It is.    There is a second page to this.
19 Q.    Okay.    What is depicted on this first page?
20 A.    This first page references, I refer to as, the peak PCE
21 and TCE concentrations in the shallow groundwater at each of
22 the four primary sites in this case.
23 Q.    And I see there are a footnote designations --
24 A.    Yes.
25 Q.    -- by the sampling locations.        Did you record where you
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 1 found this information?
 2 A.    I did.    And that's what those footnotes indicate.
 3 Q.    Okay. I will show you that page.        Is this your reference
 4 document, for lack of a better term, for those concentrations?
 5 A.    Yes.   Those are the individual references that provide the
 6 data that is included in that table.
 7 Q.    What were you trying to show with this demonstrative?
 8              MR. BOWMAN:     Objection.    The concern that I have
 9 here is, I've read his opinions, and I did not see in his
10 opinions -- this is data at this point, and I don't see in his
11 opinions an analysis or comparison of groundwater.             I've truly
12 not -- this is the first time that we've had any -- Mr. Walker
13 has delved into analysis of groundwater at the various sites,
14 so I truly don't know where this is going, and I'm concerned.
15              MS. KRAHULIK:     Mr. Walker has opined that the
16 removal activities conducted by Major Tool at each of these
17 properties resulted in impacts to groundwater, and this is
18 simply a summary of data that's already in evidence.             You
19 know, obviously, if they want to cross-examine him about any
20 of these numbers, that would be fine, but I don't believe we
21 will get outside of the scope of his opinions with this.
22              MR. BOWMAN:     Well, for the record, he said in his
23 opinions that they were beneficial.          He made no reference to
24 numbers at all, and so I -- this may end up being beneficial
25 to my client.      It may hurt my client.
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 1              MS. KRAHULIK:     I'm kind of wondering what you're
 2 doing.
 3              MR. BOWMAN:     I just don't know where it's going.
 4              THE COURT:    Can I have a copy that shows the
 5 reference page, also, so I can look at both?
 6              MS. KRAHULIK:     Oh, yes.    I'm sorry.
 7              THE COURT:    I'm going to allow you to get started
 8 and we'll see.
 9              MR. BOWMAN:     Okay.
10              MS. KRAHULIK:     The reference is on the second page.
11              THE COURT:    Okay.     So we can see where he got these
12 numbers from.      I'll give her a little leeway.        Let's see where
13 it goes.
14              MR. BOWMAN:     Okay.
15              MS. KRAHULIK:     And we won't have a whole lot of
16 questions about this demonstrative.
17 BY MS. KRAHULIK:
18 Q.    But, Mr. Walker, why is it important to also look at
19 groundwater concentrations?
20 A.    Well, I think it's most important to look at groundwater
21 concentrations.       The groundwater is the mobile -- or, I'm
22 sorry, is the vector that is mobilizing these contaminates to
23 the -- the potential sensitive receptors.           Ultimately, the
24 exposure pathway is vapor, but the vapor is generated from the
25 dissolved contaminants in the shallow groundwater.
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 1 Q.    And as a general proposition, what does the data that you
 2 summarized here tell you about the shallow groundwater impacts
 3 of the properties?
 4 A.    Well, I think it's clear -- well, for me, to get a
 5 perspective on the -- in the universe, there's so much data
 6 for these properties -- just to try to get a sense of where
 7 everything was.       It was clear to me that the concentrations of
 8 trichloroethylene and perchloroethylene beneath the Von Duprin
 9 property are multiples greater than what we're finding at the
10 Ertel, the Moran, or the Zimmer Paper property.
11 Q.    And what did looking at these numbers tell you about the
12 efficacy of the removal activities upgradient?
13 A.    Well, I really -- one data set that was really important
14 to me was under the Moran property, and that is the
15 trichloroethylene under Moran, and that is because MW110,
16 which was the sample location pre-excavation, is very similar
17 to the location, that VAP-108, which was the sample location
18 post-excavation.       They're very similar to one another.        And
19 from that, I -- you can see that there's a pretty substantial
20 reduction in the concentrations of TCE at that location.              Now,
21 other locations, that isn't true because the samples are not
22 collected in proximity to one another.
23 Q.    So you mean the samples depicted on this exhibit showing
24 the highest groundwater concentrations at each property
25 weren't necessarily right by each other?
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  1 A.   That's correct.
  2 Q.   But at Moran, it was, and it shows the reduction?
  3 A.   Yes, at Moran, it did show.
  4 Q.   Okay.    Final area of inquiry here.       Mr. Walker, have you
  5 reached an opinion as to whether the harm in this case can be
  6 apportioned as to the Major defendants?
  7 A.   Yes.    Yes, I have.
  8 Q.   And what did you conclude?
  9 A.   I concluded that Major Tool and Machine, the Major
10 defendants, have never used, stored, or disposed of these
11 chlorinated solvents, trichloroethylene, perchloroethylene,
12 dichloroethylene, or vinyl chloride, at any of these
13 properties and have never -- and have not caused or
14 contributed to the contamination that's there.            And in my
15 opinion, the apportionment would be zero.
16 Q.    Zero to the Major Tool and Major Holdings defendants?
17 A.    That's correct.
18               MS. KRAHULIK:    I have no further questions.        Thank
19 you.
20               THE COURT:    All right.    Mr. Griggs, you may go next.
21                              CROSS-EXAMINATION

22 BY MR. GRIGGS:
23 Q.    Good morning, Mr. Walker.
24 A.    Good morning.
25 Q.    Do you recall giving a deposition in this case?
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  1 A.   I do.
  2 Q.   Let's begin with what I think is the second leg of each of
  3 the opinions, rebuttal opinions, as you call them, in your
  4 expert report.
  5              I believe for each of the three upgradient
  6 properties, what we referred to as upgradient properties,
  7 Ertel, Zimmer Paper, and Moran, you offer a consistent opinion
  8 that Major, Major Tool and Machine, Major Holdings, did not
  9 use, dispose -- you give me the language that you used.             It
10 was the same every time; right?
11 A.    Yes, I believe so.      Used, stored, or disposed.
12 Q.    Are you aware of whether any claims in this lawsuit allege
13 that Major Tool or Major Holdings used, stored chlorinated
14 solvents?
15 A.    I'm not aware of that, that claim.         It's -- you know, I'm
16 not aware of that.
17 Q.    You don't know one way or the other or you know that
18 that's not the case?
19 A.    No, I don't know one way or the other.
20 Q.    Okay.    Thank you.
21               Let's look at your --
22 A.    I'm sorry.     I mean, intuitively, if they're being sued, I
23 would assume that it's because they have been charged or
24 assumed to have caused this contamination.
25               MR. GRIGGS:    I'll move to strike that as
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  1 nonresponsive.
  2              THE COURT:    And I'll strike that as nonresponsive.
  3              You have to wait for a question.        Just answer
  4 questions.
  5              THE WITNESS:    Okay.
  6              THE COURT:    Thank you.
  7 BY MR. GRIGGS:
  8 Q.   I think this would have been covered in your -- in the
  9 direct examination questions about your qualifications, but
10 let's just be clear.        You're not a lawyer?
11 A.    I'm not a lawyer.
12 Q.    And you're not here offering any legal opinions to help
13 the Court decide how to decide the case?
14 A.    Not my intention.
15 Q.    Thank you.
16               In your rebuttal opinion to McInnes' opinion number
17 1, you indicated that you were concerned -- and this may apply
18 to all of the opinions -- that Mr. McInnes didn't have a broad
19 enough set of reports on which he relied; is that correct?
20 A.    I think that's correct.
21 Q.    Are you aware of anything else that Mr. McInnes relied
22 upon besides those, I think you said, 12 reports?
23 A.    Only the reports that he referenced in his opinion.
24 Q.    Were you ever given a copy of his deposition?           Did you
25 review that?
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  1 A.   I have reviewed that.
  2 Q.   Did you review a similar deposition for Dr. Love?
  3 A.   I have.
  4 Q.   And do you recall that, in both of those cases, there was
  5 indication of what was called a comprehensive database?
  6 A.   Yeah, each of them created a database.
  7 Q.   And so each of them claimed that they had a database that
  8 they used for their opinions that contained every data point
  9 from every report?      Do you remember that?
10 A.    Yeah.    Yes.
11 Q.    If Mr. McInnes had the data available, what was the
12 usefulness of having the report?
13 A.    The usefulness is very real, and that is you take from the
14 report, you get context in which certain statements are made.
15 Phase I includes not just data.          It includes interviews and
16 other -- and review of other documents.           And if you don't
17 review those foundational documents, you lose all context in
18 which those statements are being made.
19 Q.    And yet, at your deposition with respect to Ertel -- we'll
20 start there -- you ultimately said that you agreed with the
21 opinion stated by Mr. McInnes regarding the Ertel, that a
22 release of a hazardous substance had occurred at that site; is
23 that correct?
24 A.    I do agree with that.
25 Q.    And you also agreed with Mr. McInnes' opinion that a
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  1 release of a hazardous substance had occurred at the Zimmer
  2 Paper site?
  3 A.   Yes.
  4 Q.   And you agreed, finally, with Mr. McInnes' opinion, that a
  5 release of hazardous substance occurred at the Moran site?
  6 A.   Yes, but that wasn't his sole opinion.
  7 Q.   Do you quote Mr. McInnes' opinion in your report?
  8 A.   I do.
  9 Q.   Let's look at page 2 of your report.
10 A.    Okay.
11 Q.    I'm at the very top.      "Operations at the former Zimmer
12 facility...resulted in the release of chlorinated solvents
13 that contributed to the commingled chlorinated plume."              Did
14 you agree with that opinion?
15 A.    I didn't.
16 Q.    You did not?
17 A.    I did not, because I don't know what he's referring to
18 when he mentioned -- when he references a commingled plume.               I
19 don't know if that is a plume immediately beneath Zimmer, or
20 is that just Moran, does it include Ertel, does it include
21 Threaded Rod?      I don't -- he doesn't define that.
22               MR. GRIGGS:    Let's bring up 1002.
23 BY MR. GRIGGS:
24 Q.    You've been doing environmental consulting work for how
25 long, Mr. Walker?
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  1 A.   Thirty years.
  2 Q.   Thirty years.
  3              You don't know what a commingled plume is?
  4 A.   I understand what a commingled plume is, but I don't know
  5 what his definition of a commingled plume is.
  6 Q.   Okay.    Do you think they're different?
  7 A.   In this case, absolutely.       They're different for every
  8 case.
  9 Q.   Okay.    Well, we've got a picture for you.
10               MR. GRIGGS:    1002.   That's not the one I wanted.
11               (Off the record.)
12               MR. GRIGGS:    Exhibit numbers keep coming into my
13 head.     But once we got past 200, I lost track of them.
14               THE WITNESS:    I appreciate that.
15 BY MR. GRIGGS:
16 Q.    While they're looking for that, you testified earlier
17 about two solvents, ethyl acetate and propyl alcohol?
18 A.    That's correct.
19 Q.    Did you read anything in Mr. McInnes' expert report
20 dealing with ethyl acetate or propyl alcohol?
21 A.    It's the absence of those two in his report that cause me
22 concern.
23 Q.    Okay.    Did he identify any particular hazardous substances
24 in his report that he was concerned about?
25 A.    He references TCE and PCE.
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  1 Q.   So do you understand that his opinions that he offered
  2 relate to TCE and PCE?
  3 A.   Yeah, that's my understanding.        I mean, he's referencing
  4 chlorinated solvents, and neither ethyl acetate nor propyl
  5 alcohol are chlorinated solvents.
  6 Q.   Okay.    Looking at the demonstrative exhibit that you were
  7 shown on your direct examination, looking at the Ertel numbers
  8 for TCE, am I understanding correctly that the post-excavation
  9 number in groundwater is 2900?
10 A.    MW1, I don't have a copy of that here, so I'm doing this
11 from memory.
12               MS. KRAHULIK:    Oh, I'm sorry.
13               Can I hand him mine, Your Honor?
14               THE COURT:    You may.
15 A.    That was for --
16 BY MR. GRIGGS:
17 Q.    I'm sorry.     I thought you had a copy.
18               So we're looking at Ertel, TCE, the sample at MW108,
19 2900?
20 A.    Yeah.    Yes, on December 21st, 2009.
21 Q.    Okay.    But the pre-excavation number was 210?
22 A.    That's correct, but that was at SB268, in August 2007, and
23 sample location SB268 is on the north side of Ertel.             And the
24 south -- on the very south edge of Ertel is where -- MW108.
25 It was the first time a water sample was collected from the
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  1 vicinity of Ertel, from that location at Ertel.
  2 Q.   So let's focus on MW108.
  3 A.   Uh-huh.
  4 Q.   As of December 21, 2009, that was after the excavation of
  5 37,000 tons of soil?
  6 A.   That's correct.
  7 Q.   The amount of TCE close to the southern border, southern
  8 boundary of the property, was 2900 PPB?
  9 A.   That's correct, and it's the southeast corner of Ertel.
10 Q.    And do you know what the drinking water limit is, the
11 residential number, for TCE?
12 A.    Yes.
13 Q.    What is it?
14 A.    5 micrograms per liter.
15 Q.    So after the excavation, we have TCE at the edge of the
16 property almost 600 times what IDEM says is the cleanup level
17 for groundwater?
18 A.    600 times?
19 Q.    Five to 2900.     580, if you want to do the math.        How's
20 that?
21 A.    I gotcha.
22 Q.    Do you agree with that?
23 A.    Yes.
24 Q.    Was this groundwater moving?
25 A.    This groundwater is likely -- it likely does move, yes.
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  1 Q.   Do you know which direction it's moving?
  2 A.   The groundwater generally at this vicinity of the site is
  3 to the south and west.
  4 Q.   And we have our picture, finally.
  5 A.   Yes.
  6 Q.   So if we can go to the picture, can you identify --
  7              THE COURT:    For the record, it is Exhibit 1001.        You
  8 were correct.
  9              MR. GRIGGS:    I think I said -- I think I said 1002.
10 We brought up 1001.        We were off by one.     It's 1002.
11               THE COURT:    Okay.   You may continue.
12               MR. GRIGGS:    Let's blow up maybe the top half of
13 that.
14 BY MR. GRIGGS:
15 Q.    I just want to make sure you can get oriented to what
16 you're seeing in the picture, whether you recognize the
17 properties that we're looking at.
18 A.    I do.
19 Q.    You see Ertel on there?
20 A.    I do.
21 Q.    You see Zimmer Paper on there?
22 A.    I do.
23 Q.    And Moran?
24 A.    I do.
25 Q.    And Von Duprin?
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  1 A.   That's correct.
  2 Q.   Okay.    And what we're showing here is an isoconcentration
  3 line at 19 parts per billion.
  4 A.   Okay.
  5 Q.   And this is vapor, I believe, soil gas.
  6 A.   It says micrograms per liter, I believe, in the ledger, so
  7 that would be water.
  8 Q.   In the groundwater, okay.
  9              So this is the plume area that we've been dealing
10 with in this case.       Is this what you would typically
11 understand when the word "commingled plume" is used?
12 A.    This would describe a commingled plume.
13 Q.    Okay.    And each of the four properties that we've been
14 talking about, Ertel, Zimmer Paper, Moran, and Von Duprin, all
15 touch on that isoconcentration line?
16 A.    Yes.
17 Q.    The excavation that occurred at Ertel, I think we -- you
18 testified in your deposition that that was 37,000 tons.              I
19 think it's in your report, as well.
20 A.    Yes.
21 Q.    Did that excavation directly address impacted groundwater?
22 A.    There are nuances here that it would have a direct impact
23 on groundwater, yes.
24 Q.    Okay.    So you're changing your testimony from your
25 deposition; is that correct?
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  1 A.   No.
  2 Q.   No?
  3 A.   I don't believe so.
  4 Q.   All right.     Let's look and see.
  5              MR. GRIGGS:    Page 77.    Can we get that on the
  6 reader?
  7 BY MR. GRIGGS:
  8 Q.   Can you see the upper left-hand quadrant is page 77?            Can
  9 you see line 20?
10 A.    I see line 20.
11 Q.    Okay.    And do you understand the question there is whether
12 the excavation changes anything about the groundwater plume
13 before the excavation occurred?
14 A.    That's a different question.
15 Q.    Okay.    I'm asking you about this question.
16 A.    Does it change any -- does it -- I've got to read more.
17               No, I don't -- I don't -- I agree with what I've
18 said here.      I agree with both of them.
19 Q.    Okay.    And your testimony is that the excavation of
20 impacted soil has an effect on groundwater?
21 A.    Yes.
22 Q.    And what is that effect?       Maybe that's where we're
23 confused.
24 A.    It has an effect on the groundwater quality.           When you
25 remove the contaminant source above it and no longer -- and
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  1 that groundwater is no longer receiving a contribution from
  2 the vadose zone, then that groundwater concentration of TCE or
  3 PCE is subject to the natural degradation, dispersion,
  4 dilution that occurs, which is already underway once it gets
  5 into the water.
  6 Q.   Okay.    Let me try and simplify this and see if I got it
  7 right because this is all technical stuff.           I want to make
  8 sure I got it.
  9              Before the excavation, there is contamination in the
10 soil matrix?
11 A.    Uh-huh.
12 Q.    And while it's there, it may be -- it may move and it may
13 go into the groundwater and it may move off-site?
14 A.    In a gross way, yes.
15 Q.    Okay.    Once you take it away, once you take the
16 contaminated soil away, that is no longer possible because
17 there's no contamination in the soil to feed into the
18 groundwater; is that accurate?
19 A.    That is accurate.
20 Q.    Okay.    And that's what you're describing, is removing that
21 soil made it impossible for more contamination from that no
22 longer existent soil to move into the groundwater?
23 A.    That is my point, yes.
24 Q.    Okay.    Thank you.    I think we're together now.
25 A.    Okay.
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  1 Q.   And you actually measured on a percentage basis the
  2 reduction in concentration in groundwater immediately
  3 downgradient of Zimmer Paper in your report?
  4 A.   From a well that was installed and had data prior to the
  5 excavation and then was -- and remained after the excavation,
  6 yes.
  7 Q.   Okay.    And so essentially it was comparing apples to
  8 apples, in your view?       The location before, the location after
  9 were very close?
10 A.    Yes.    If you're going to do this kind of an analysis, you
11 want to remove as many variables as possible.            The fact that
12 the well is there and isn't changing, sampling procedures were
13 done by the same parties, so a lot of those variables that
14 could affect the groundwater quality data have been
15 stabilized, that you can then do an assessment looking at
16 groundwater quality before, groundwater quality after from the
17 same sampling point.
18 Q.    And do you remember what the reduction was that you saw in
19 the groundwater concentration between the before and after
20 samples?
21 A.    From Zimmer -- I know little in my opinion -- I think it
22 was around 63 percent or something.
23 Q.    You got it.
24 A.    Is that right?
25 Q.    It's the bottom paragraph of page 3.
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  1 A.    All right.
  2 Q.    And it looks like the earlier sample was from -- I'm
  3 looking for the date here.
  4 A.    2008.
  5 Q.    2008, maybe -- is it March 31?
  6 A.    It would be March 31, 2008.
  7 Q.    And the later one was October of 2010?
  8 A.    '10.
  9 Q.    Have you been able to further assess this reduction with
 10 later samples?
 11 A.    I haven't been asked to do that and I haven't.
 12 Q.    Do you know if there's any later data available from
 13 MW108?
 14 A.    This is not 108.      I'm looking at 109.
 15 Q.    109.    I'm sorry.
 16 A.    Yeah, 109, I believe, and 108 were both removed during the
 17 excavation of the Moran properties, I believe.
 18 Q.    Okay.
 19 A.    They were within the footprint of the excavation, so they
 20 were removed.
 21 Q.    Mr. Walker, in your demonstrative exhibit, you show TCE
 22 and PCE concentrations for the Threaded Rod Von Duprin
 23 property?
 24 A.    Yes.
 25 Q.    But you don't split those up into pre-excavation and
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  1 post-excavation?
  2 A.    Yeah.   I'm not -- I believe -- I don't have -- I don't
  3 know that there was data after the excavation.
  4 Q.    You -- that implies that you do know there's been an
  5 excavation.
  6 A.    There was an excavation, I think, of 300 yards, 300 tons
  7 of soil.      I'm not impressed by that.
  8 Q.    Well, as we limit it to your expert report, the only --
  9 only sites at which you offered an opinion that the excavation
 10 had had an impact were Ertel, Moran, and Zimmer?
 11 A.    No, actually that's not my -- that's not what this is.
 12 For Moran, I think, there's a demonstration, because the
 13 sampling point is the same or similar, but -- so I'm not
 14 trying to demonstrate that there's a reduction from the
 15 excavation.      This was to provide me with an understanding of
 16 where were the peak concentrations in the shallow groundwater
 17 across the sites, across this area.
 18 Q.    Okay.   When did you create this demonstrative exhibit?
 19 A.    I created this -- I think it was finalized yesterday.            I
 20 began creating it about two weeks ago.
 21 Q.    Well after your expert report in this case?
 22 A.    Oh, absolutely.
 23 Q.    And long after your deposition was concluded?
 24 A.    Yes.    As this case was getting closer.
 25 Q.    Prior to the excavation of soils at the three upgradient
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  1 properties, is it your opinion, or do you have an opinion,
  2 that those properties -- not individual companies, right --
  3 that the properties had experienced a release of chlorinated
  4 solvents?
  5 A.    I agree with that.
  6 Q.    And that those releases did reach groundwater?
  7 A.    I think there's evidence of that, yes.
  8 Q.    And given the orientation of the properties, how close
  9 they are together, do you see any indication that the
 10 contamination from the individual sites didn't merge together?
 11 A.    I am -- I guess to answer that question, yes, I don't know
 12 that there is.      I think there is evidence that they did not
 13 all merge together.
 14 Q.    So the picture we saw with one plume, you have a picture
 15 that shows four plumes?
 16 A.    No.   No, no, no.
 17 Q.    So help me understand what you're saying.
 18 A.    This might be more of a discussion on a commingled plume.
 19 I think the contribution from some of the sites may never have
 20 reached Von Duprin, in my opinion, and commingled with Von
 21 Duprin.
 22 Q.    So there's one plume --
 23 A.    I'm sorry?
 24 Q.    -- from four sources?
 25 A.    Okay.
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  1 Q.    If we include Von Duprin; right?
  2 A.    Okay, yeah.
  3 Q.    And we know the boundaries of that plume.          We've seen
  4 that.     And your question -- your answer goes more to, you
  5 don't know where within that boundary the molecules from one
  6 of the properties actually are?
  7 A.    I think that's -- that's probably a better description.
  8 That's a good description.
  9 Q.    You know the direction they're moving, but you're not sure
 10 of time of travel; you're not sure of whether they attenuate
 11 in the soil, you're not sure whether they degraded into
 12 another chlorinated solvent molecule --
 13              MR. BOWMAN:    Objection, compound.      Objection,
 14 compound.
 15              THE COURT:    He wants you to break them down to each
 16 one.    So, if you could.
 17              MR. GRIGGS:    All right.    He was nodding at me so I
 18 assumed I should go on.
 19              MR. BOWMAN:    I didn't hear his head, Mr. Griggs.
 20              THE COURT:    The court reporter can't pick up nods so
 21 we do need answers.
 22              MR. GRIGGS:    Now I have to try and remember the
 23 litany.     I was on a roll.
 24 BY MR. GRIGGS:
 25 Q.    There are things you don't know about what's going on in
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  1 the subsurface that caused you to hesitate to give a firm
  2 answer to how far a particular site's chlorinated solvents
  3 have gone?
  4 A.    That's true.
  5              MR. GRIGGS:    Okay.    I'm going to stop there.
  6              THE COURT:    Okay.    Thank you.
  7              And who's going to examine the witness?
  8              MR. BOWMAN:    Glen Bowman.     Thank you.
  9              THE COURT:    All right.    Come on, Mr. Bowman.      You
 10 may cross-examine.
 11                             CROSS-EXAMINATION

 12 BY MR. BOWMAN:
 13 Q.    Mr. Walker, Glenn Bowman, for Moran.
 14 A.    Good morning.
 15 Q.    As part of your opinions, you did not do what is called in
 16 your area of practice a fate and transport analysis; correct?
 17 A.    That is correct.
 18 Q.    And so to be clear on that, in my mind, a fate and
 19 transport analysis would be whether a release of contamination
 20 at one property is or is not migrating to another; that's a
 21 fair representation of fate and transport?
 22 A.    That would work.     That will work.
 23 Q.    So you agree with me, then, for the next question:           As
 24 part of your opinions that you're expressing to the Court,
 25 you're not expressing an opinion regarding whether any release
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  1 of contaminants at any one property are or are not migrating
  2 to another?
  3 A.    No, I -- I think that's too vague.
  4 Q.    You don't agree with that?
  5 A.    I don't agree with the way that that's phrased.
  6 Q.    What opinions have you expressed regarding migration of
  7 groundwater, then?
  8 A.    Well, the migration of groundwater is inherent in all of
  9 my opinions, whether they're specifically stated or not.              It's
 10 taken into consideration when I'm developing my opinions.
 11 Q.    Let me try it another way. I want to bring this to
 12 conclusion.
 13              Have you expressed any opinions in this case, are
 14 you expressing any opinions, regarding whether release of
 15 contamination at one of the properties at issue is or is not
 16 migrating via groundwater to another?
 17 A.    I have not made that a part of my opinion.
 18              MR. BOWMAN:    Okay.    Thank you very much.
 19              THE COURT:    Ms. Krahulik, you may redirect.
 20                           REDIRECT EXAMINATION

 21 BY MS. KRAHULIK:
 22 Q.    Mr. Walker, you were asked a little bit about the
 23 demonstrative exhibit we had on the screen earlier.             The data
 24 that you placed in that demonstrative covered at least your
 25 review of all samples at all locations on all properties
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  1 throughout time?
  2 A.    That is correct.
  3 Q.    And the particular result that Mr. Griggs was asking you
  4 about of 2900 parts per billion on the Ertel property, what
  5 was the date of that sample?
  6 A.    That was December 21st, 2009.
  7 Q.    So it was three years before the property was closed?
  8 A.    Yes.
  9 Q.    Do you remember the levels at which the property was
 10 closed -- or let me rephrase that.
 11              Do you recall the level in parts per billion that
 12 was cited by IDEM as being at the property boundaries at the
 13 time of closure?
 14 A.    I don't recall specifically, but I know that it was less
 15 than the commercial industrial standard, which for
 16 trichloroethylene it may have been at 55 micrograms per liter.
 17 I think it's less than 100.        I don't recall.     I'm sorry.
 18 Q.    And you were asked about some boundaries of a plume.            That
 19 graphic you were shown, that's not a result of any work you
 20 did?
 21 A.    No, not at all.
 22              MS. KRAHULIK:     That's all I have.     Thank you.
 23              THE COURT:    Any questions on those, Mr. Griggs?
 24              MR. GRIGGS:    Nothing further.
 25              THE COURT:    Mr. Bowman?
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  1              MR. BOWMAN:    Nothing further.
  2              THE COURT:    Thank you very much, Mr. Walker.        You
  3 may be excused.
  4              THE WITNESS:     Do I go back to my room or --
  5              THE COURT:    You may go back to your room, and they
  6 will probably let you go home in just a minute.
  7              (Witness excused.)
  8              THE COURT:    All right, lawyers.      It's 11:30.
  9              Do you have any other evidence, Ms. Krahulik?
 10              MS. KRAHULIK:     We have a couple of deposition
 11 excerpts to offer into evidence, but other than that, we are
 12 through with witness testimony.
 13              THE COURT:    Okay.   Well, let's get your deposition
 14 excerpts in.
 15              MR. GARDNER:     Your Honor, just briefly, counsel for
 16 Moran offered the depositions of Mr. Richard Phelps and John
 17 Letsinger yesterday.       We told you that we had highlighted
 18 portions for the Court.        You asked them to actually be
 19 highlighted and so we've done that.          We can also give copies
 20 to counsel, as well.
 21              THE COURT:    Okay.   We'll accept those.      You can give
 22 those to Tanesa.      Those are the ...
 23              MR. MENKVELD:     And, Your Honor, Moran asks only
 24 that, for confirmation, that the highlighted portions of the
 25 depositions correspond with the excerpts that were previously
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  1 identified.
  2              MR. GARDNER:     That was our intent.     I mean, that's
  3 what we tried to do.
  4              THE COURT:    Okay.    Do they have a number?      I think
  5 maybe we need a -- let's put an exhibit number on these.
  6              MR. GARDNER:     Okay.   And then we would move to admit
  7 them, Your Honor.
  8              THE COURT:    All right.    What number would you be at
  9 on your exhibits?
 10              MR. GARDNER:     I don't know that we had any.       We
 11 could start at 700, I believe.
 12              THE COURT:    Seven?
 13              MR. GARDNER:     We were in the 700 series, the Major
 14 defendants were, Your Honor, and I don't think that we offered
 15 any in this trial, so we could be 700 and 701.
 16              THE COURT:    Okay.    700 will be the smaller packet.
 17 And who is that?      That's Mr. --
 18              MR. GARDNER:     That's Mr. Letsinger, I assume.
 19              THE COURT:    Letsinger.
 20              And 701 will be Mr. Phelps?
 21              MR. GARDNER:     Mr. Phelps.
 22              I'm being told to use numbers 722 and 723.
 23              THE COURT:    Tanesa said that would be better.
 24              MR. GARDNER:     Everybody knows better than me, Your
 25 Honor, so let's use that.
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  1              THE COURT:    So Mr. Letsinger will be 722.
  2              MR. GARDNER:     And then Mr. Phelps will be 723.
  3              THE COURT:    723.
  4              MR. GARDNER:     Okay.
  5              THE COURT:    Any other deposition designations?
  6              MS. KRAHULIK:     No, Your Honor.
  7              Sorry.   This is off.
  8              No, Your Honor, we don't have any further
  9 designations of depositions, we have no further witnesses, and
 10 the Major Tool and Major Holdings defendants rests their case.
 11              THE COURT:    Okay.   Thank you.
 12              Do you have any rebuttal?
 13              MR. GRIGGS:    No, Your Honor.
 14              THE COURT:    No rebuttal on behalf of Von Duprin.
 15              Any rebuttal on anyone's cross claims?
 16              MR. MENKVELD:     No, Your Honor.
 17              THE COURT:    No?
 18              MS. KRAHULIK:     No, Your Honor.
 19              THE COURT:    All right.    So the Court has received
 20 all of the evidence.
 21              It's 11:32, so let's go ahead and take our lunch
 22 break.     Let's reconvene at maybe, let's say, 1:00, and we'll
 23 hear closing arguments of counsel.          And I know I still have to
 24 tell you something on that Rule 52(c) motion, which I'll do
 25 when we get back.       But go ahead and prepare for your closing
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  1 argument, all right?
  2              And how about 30 minutes, lawyers?        I think that
  3 should be sufficient.       We've heard a lot and it's all in here.
  4 So we'll give you each 30 minutes for your closing argument.
  5              And Von Duprin, you can reserve some of your time
  6 and get final rebuttal.
  7              Sounds good.     Okay.   We're on our lunch break.
  8              THE COURTROOM DEPUTY:      All rise.
  9              (Recess at 11:33, until 1:07.)
 10              THE COURT:    And we are back on the record.
 11              Counsel, the first thing that we're going to discuss
 12 very briefly is the Rule 52(c) motion, and the case law as
 13 well as the rule states that the district court is not
 14 required to make a ruling.        The rule merely authorizes the
 15 Court to enter judgment at any time that it can appropriately
 16 make a dispositive finding of fact on the evidence.             And
 17 because you're allowed findings of fact and we just don't have
 18 time to do findings of fact and it's a close call, the Court
 19 is going to continue to defer ruling on the Rule 52(c) motion.
 20              And there are some cases that say -- well, the
 21 Seventh Circuit says it's discretionary for the Court.             And
 22 there's a case that says the Court exercises discretion under
 23 Rule 52(c) to defer its ruling on the request for judgment on
 24 partial findings until the close of all evidence.            A decision
 25 on the Rule 52(c) motion after deferral is tantamount to
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  1 making a decision on the case after trial on the complete
  2 trial record as if no such motion had ever been made so that
  3 separate consideration of the motion for judgment on partial
  4 find findings is pointless.
  5              So at this point in the proceedings, I think it's
  6 pointless for me to try to give you a ruling on those motions.
  7 The practical effect of the Court's deferral over a Rule 52(c)
  8 motion and its entry of judgment based on the totality of the
  9 evidence that's been admitted at trial is a denial of the
 10 motion.     So for that reason only, I'm going to deny the
 11 motion.
 12              MR. MENKVELD:     We appreciate the consideration, Your
 13 Honor.     Thank you.
 14              THE COURT:    All right.    So let's start with our
 15 closing arguments on behalf of Von Duprin.
 16              And we do have a big clock.       We'll stop you -- I'll
 17 give you a notice when you've got five minutes left.
 18              MR. GRIGGS:    And that's when I plan to stop or be
 19 done earlier.
 20              THE COURT:    Okay.
 21              MR. GRIGGS:    And before I begin, I wanted to thank
 22 Your Honor for the cough drops earlier.           That was very
 23 helpful.     Thank you.
 24              THE COURT:    That happens to me sometimes, too.         I
 25 don't know why.      We just get choked up, don't we?
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  1                           CLOSING ARGUMENT BY:

  2              MR. GRIGGS:    Your Honor, thank you for your time and
  3 attention to this case over the six days that we have
  4 presented our evidence.
  5              In our closing argument, we understand we'll only be
  6 able to hit highlights and we do plan to provide you with the
  7 required proposed findings and conclusions at the appropriate
  8 time.
  9              This case, as we stated in our pretrial brief, is
 10 about pollution.      And if nothing else has been clear over six
 11 days -- and I understand that some of it may have been
 12 confusing -- there is pollution in a neighborhood here in
 13 Indianapolis that really does affect people, and Von Duprin is
 14 the person who has been spending money, taking steps, trying
 15 to mitigate those potential exposures.          We have done so at a
 16 public park building and at several residences to the
 17 southwest of the industrial properties at issue in this case.
 18              As the Court has seen and as this picture is an
 19 indication, there is a commingled plume.           Chlorinated solvents
 20 from multiple properties came together and remains together
 21 and has a negative effect in the environment.
 22              Vapor intrusion by TCE is the only identified harm
 23 in the plume area.       That's what we're fighting.       We're
 24 fighting it in the homes and eventually we're going to have to
 25 fight it in the groundwater with some kind of a remedy,
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  1 because that's the only complete exposure pathway.
  2              All of the parties in this case are connected to the
  3 plume area in some way.        The diagram that you've seen,
  4 probably more times than you wish to, Exhibit 1001, shows the
  5 relative location of the properties, and we just summarize
  6 here each party's connection to the site.           Ertel has one
  7 connection.      Major Tool and Machine is the current owner.
  8 Zimmer Paper has two connections.         Major Holdings is the
  9 current owner.      And Zimmer Paper -- sorry -- Moran is a former
 10 owner and operator.
 11              The Moran property, again, has two connections.
 12 Moran owned and operated that property and Major Holdings now
 13 owns it.     And the Von Duprin property, the only connection is
 14 Von Duprin is a former owner and operator.
 15              The key points established during the trial, we
 16 didn't have many left after the summary judgment motion.              Your
 17 Honor had ruled at the summary judgment stage that all the
 18 parties are covered persons and that a release or threatened
 19 release of a hazardous substance had occurred at each of the
 20 facilities and the trial testimony has confirmed those
 21 findings.
 22              What was left was to determine whether or not
 23 response costs were necessary and whether or not they were
 24 incurred consistent with the NCP.
 25              On the issue of whether the costs were necessary, we
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  1 heard from at least five witnesses listed here, Mr. Groves,
  2 Mr. Eiler, Mr. Ferree, Mr. Williams and Mr Fimmen, who
  3 indicated that costs to investigate and delineate the plume
  4 area were incurred and were necessary and that cost to
  5 mitigate vapor intrusion in downgradient homes and buildings
  6 were necessary.
  7              And I would just particularly emphasize the
  8 testimony here of Mr. Groves.         He is a state employee.      He is
  9 a high-level official in the Indiana Department of
 10 Environmental Management.        He deals with 650 sites across the
 11 state of Indiana with contamination.          And they simply do not
 12 allow people to be exposed to dangerous chemicals without
 13 taking some action to prevent that.          They have -- they
 14 demanded Von Duprin act, and we did.
 15              We summarized, through testimony, the cost.          They're
 16 split here into four different categories:           The investigation
 17 cost, three quarters of a million dollars; the specific cost
 18 to address the vapor intrusion at the park building property,
 19 JTV Hill Park, $120,000; vapor intrusion at the residences,
 20 $465,000; and then the work that was done on a bench scale
 21 study and pilot studies to try and isolate and determine the
 22 appropriate groundwater remedy for the site.           This totaled to
 23 $1.7 million.      There was also testimony regarding IDEM
 24 oversight costs.      Those were reflected in Exhibits 107 and
 25 1017 and the total amount there was $38,946.
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  1              Had a big question in this case about whether costs
  2 are incurred consistent with the NCP.          What the NCP has to say
  3 is that in a private party response action, like this one,
  4 costs will be considered consistent with NCP if the action,
  5 when evaluated as a whole, is in substantial compliance with
  6 the relevant NCP requirements.
  7              I believe we've established, both with Mr. Williams
  8 and with Mr. Hokkanen earlier today, that different types of
  9 costs trigger different parts of the NCP.           It's a
 10 multi-hundred-page regulation.         Not every page applies to
 11 every cost.      Some of the requirements apply only to
 12 investigative costs.       Others apply specifically to removal
 13 costs or what is in the NCP called a remedial cost.
 14              With respect to the investigation cost of $750,000,
 15 cases in the courts, particularly in the Seventh Circuit, have
 16 often found that investigative costs are per se consistent
 17 with the NCP, and the logic here is fairly simple.             Until you
 18 know what you're dealing with, it's hard to plan.            And you
 19 have to gather the data that allows you to make decisions
 20 about what the appropriate steps would be, whether that's an
 21 immediate removal action, whether that's a longer term removal
 22 action, whether that's going directly to the final remedy at
 23 the site.     You need information to do that.        And in
 24 environmental cases involving an area this size, that takes
 25 many years sometimes to gather that information.
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  1              And they don't run sequentially.        When we gathered
  2 enough information in 2014 to realize that we had structures
  3 that were being threatened by vapor intrusion, while we
  4 continued our investigation, we also started taking action in
  5 the form of a removal action to deal with those immediate
  6 threats.     And so the investigation wasn't concluded until the
  7 final investigation report in 2017.          Although, by then, we had
  8 conducted multiple removal actions to deal with vapor
  9 intrusion.
 10              I just note here that in a filing with this Court,
 11 that the Major defendants agreed that investigation costs are
 12 per se consistent with the NCP.         That was part of their
 13 Daubert filings regarding Mr. Williams.
 14              I think it's important, too, to note that Von Duprin
 15 has been very careful and has tried throughout this case to be
 16 clear that we are not seeking any recovery for costs that
 17 relate to the Von Duprin site.         Whatever we did to take away
 18 and haul away soil at the site, whatever we did to, you know,
 19 comply with other requirements that might be involved at the
 20 site, including vapor intrusion testing and evaluation at the
 21 former Threaded Rod site, that all belongs to us, and I
 22 believe that the other parties, particularly Major, has taken
 23 the same stance.      Whatever efforts they made to address soil
 24 contamination at Zimmer Paper and then later at Moran, those
 25 were costs that they incurred, and they have not presented any
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  1 evidence in this trial suggesting that that should be shared
  2 with Von Duprin.
  3              We also have the removal costs, and here I've
  4 combined the JTV Hill and the residential, the 120,000 and the
  5 465,000 to total 585, just so I could get it onto one slide
  6 instead of two.      One of the key issues of dispute coming into
  7 the trial was whether or not sufficient efforts had been made
  8 to involve the public.        And although the NCP doesn't talk
  9 about exactly who the public is, I believe we heard from
 10 Mr. Williams, and I think the trial transcript will reflect
 11 from this morning that Mr. Hokkanen agreed that, at a minimum,
 12 the affected persons are included within who the public is
 13 that is intended to be protected, to whom information is owed.
 14 And we presented evidence and there was a long -- I believe it
 15 was called table 11 that was reviewed with at least one and
 16 maybe two of our witnesses that detailed action by action:              We
 17 called this person, didn't get an answer; we stopped at their
 18 house and we left them a note; we gave them a fact sheet, you
 19 know, explaining what was happening; we asked for permission
 20 to come in their house; we signed an agreement with them that
 21 we would incur all of the costs associated with testing the
 22 indoor air and, if necessary, putting in a remediation system.
 23              You know, the suggestion, if there is one, that
 24 taking out a legal notice in a publication of general
 25 circulation in Indianapolis would have done a better job of
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  1 notifying the people that mattered, I think that's wrong.              The
  2 NCP wants the people who have a stake in what's happening to
  3 have a say in how it occurs, and that happened here.
  4              Also, it's notable that the only constituent, the
  5 only contaminant that has caused us to incur any cost for
  6 vapor intrusion is TCE.        It has the greater ability to find
  7 its way into structures.        It has a much lower screening level
  8 above which you have to take some action by IDEM's
  9 requirements.      Had we only been dealing with PCE, the other
 10 main contaminant in this case, none of those levels in homes
 11 reached the level that would have required any mitigation
 12 systems, so TCE is the driver of the costs.
 13              In terms of remedial costs, we're still a little bit
 14 early in this.      We did do a remedial work plan for soil, which
 15 we're not seeking to recover costs of that in this case, but
 16 we split the remediation work plan into the soil for which we
 17 were solely responsible and the groundwater for which we
 18 believe that the parties in this case share responsibility.
 19 Those preparatory costs were $365,000.          They were to determine
 20 whether or not ISBR, the remedy that we thought was the right
 21 remedy, would in fact work in the soils that we have at these
 22 sites.     And to accomplish that, we took soils from these sites
 23 and sent them to a lab and ran a little bench scale test.              And
 24 when that was successful, we brought the equipment and all of
 25 the necessary chemicals right to the site, right here to town,
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  1 and injected those things in the ground with a permit from the
  2 government to do that, and then watched and monitored how the
  3 subsurface contaminants reacted.         Again, the results were very
  4 favorable and we believe we identified a groundwater remedy
  5 that will, in fact, work.
  6              So the public participation requirements, although I
  7 believe that we met them straight up in terms of the actions
  8 taken by Geosyntec and by Von Duprin, there is case law,
  9 particularly the NutraSweet case, that has found that
 10 involvement of a state regulatory agency and approval of the
 11 work that's being done does satisfy the public participation
 12 components of the NCP.        Here, that's just icing on the cake.
 13 You know, we've accomplished the cake, but we have that, as
 14 well.
 15              The State Cleanup Program and the Voluntary
 16 Remediation Program are based on the NCP requirements and the
 17 goal of the State, as reflected in their State Cleanup
 18 Program, Remediation Program Guide and Remediation Cleanup
 19 Guide, is that, by following the State's requirements, you
 20 will be meeting the requirements necessary to achieve a CERCLA
 21 quality cleanup, and that is ultimately the goal of all of the
 22 NCP compliance, is that the remedy that is actually put into
 23 place is what's called a CERCLA quality cleanup, meaning that
 24 it has addressed the contamination to a degree and in a way
 25 that protects human health and the environment.
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  1              We also have reflected an EPA IDEM memorandum of
  2 agreement.     I'm not going to spend any time really going into
  3 the details of that.       It's been presented in the evidence and
  4 speaks for itself.
  5              Another one of the issues that was at issue at the
  6 start of the trial and may still be was whether or not Major
  7 Tool was a BFPP for Ertel.        You had ruled in summary judgment
  8 that they were not a BFPP, and we think that was the correct
  9 ruling.
 10              A document that had not come up at summary judgment,
 11 a 2006 Phase I, was presented both in the pretrial brief of
 12 Major and was presented through expert testimony and during
 13 this trial.
 14              When we spoke to Mr. Vijay yesterday, we presented
 15 him both with the lease that began on November 16th, 2007, and
 16 with this never-used-before Phase I from September 8th, 2006.
 17 As the Judge can calculate, that's 14 months.            Mr. Vijay
 18 testified that, in his opinion, a Phase I becomes invalid for
 19 all appropriate inquiry purposes after 180 days.
 20              This Phase I cannot serve as the basis for
 21 compliance with all appropriate inquiry.           All of the other
 22 Phase I's for the Ertel property didn't exist until after the
 23 lease date of November 16, 2017.
 24              There was also an issue for Major Holdings regarding
 25 their BFPP status for the Zimmer Paper property.            Again, this
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  1 Court found at summary judgment that they were not a BFPP
  2 because they had failed to comply with certain sections of the
  3 all appropriate inquiry's rule, particularly Sections 312.21
  4 and 312.22.
  5              We also note that, during the trial, evidence was
  6 presented regarding Exhibit 600, which is a settlement
  7 agreement between Major and Moran that affects both the Moran
  8 property and the Zimmer property.         It is heavily redacted, and
  9 we can't see all the details, but I believe that what we can
 10 see is sufficient to indicate that certain obligations were
 11 taken on by Major to -- in exchange for money, $1.25 million,
 12 as it turns out.
 13              The requirements of the AAI at 312.21 and 312.22,
 14 I've got slides here that I'm going to skip through for time's
 15 sake, and this final one merely points out where in the Phase
 16 I for the Zimmer Paper property some of these failures are
 17 shown.
 18              Also, whether Major Holdings is a BFPP for the Moran
 19 property, this Court found at summary judgment that they were
 20 a BFPP, even though no Phase I exists prior to the purchase or
 21 prior to the acquisition.        And at that time, we believed that,
 22 by acquisition, we meant when they bought it.
 23              For the first time in testimony during the trial,
 24 Natalie Weir indicated that a lease between Major Holdings and
 25 Moran began in 2003.       There was no Phase I or Phase II
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  1 conducted prior to that date.         So the document that the Court
  2 relied upon as a Phase II type document, it's only three pages
  3 long; it doesn't have much to say of what a Phase II would
  4 normally say; it has nothing of what a Phase I would say.              But
  5 because of the lease, which we were unaware of, I believe that
  6 the lease predates even the one document that the Court relied
  7 upon in finding that they had met the BFPP requirements.              The
  8 date of that document, which was Exhibit 1236, is December 28,
  9 2004.
 10              So we would ask the Judge to reconsider whether or
 11 not Major Holdings is, in fact, entitled to BFPP protection
 12 for the Moran property.
 13              The all appropriate inquiries are found at 40 CFR
 14 Section 312.20.      These are the things that a Phase I does for
 15 you.    And we would suggest that Exhibit 1236, which now has a
 16 very bad timing problem, even without the timing problem, even
 17 if we were just talking about the date that they purchased the
 18 property instead of the their lease began, that document, that
 19 three-page document in Exhibit 1236, doesn't meet these
 20 requirements.
 21              And to say that, "Well, a Phase II must be better
 22 than a Phase I because it says II and the other says I," I
 23 think, is wrong.      They serve completely different purposes.
 24 The Phase I accomplishes things that the regulation wants to
 25 be accomplished in order to grant bona fide prospective
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  1 purchaser protection that a Phase II simply doesn't do.
  2              There are other reasons why you might not find Major
  3 to be a BFPP.      The document, the 1236 document, never
  4 references Major Holdings.        It was done for somebody else.         It
  5 was done for something called the Martindale-Brightwood
  6 Community Development Corporation.          So they're trying to make
  7 use of somebody else's document.         Like with a Phase I, the
  8 user, the person who can rely upon it, is the person who has
  9 the work done.      And there are several items indicated there
 10 that are missing in this three-page document that are required
 11 in a Phase I.
 12              Did the defendants investigate and prevent further
 13 releases?
 14              Even if you meet the requirements of all appropriate
 15 inquiry, you have to also perform the continuing obligations.
 16 One of the continuing obligations is making sure that no
 17 contamination is affecting off-site properties.            Here, the
 18 testimony is that a lot of work was done on these properties,
 19 thousands of tons of soil was removed.          We accept that.     We
 20 acknowledge that.       We think that's great.      What we have a
 21 problem with is that that soil, while it was there and while
 22 it was contaminated, and even after it was removed, the
 23 evidence is that there were still molecules, too many
 24 molecules, of dangerous chemicals leaving those properties and
 25 flowing downgradient and we believe ultimately impacting
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  1 receptors, human receptors.        And by not addressing those
  2 releases that got off-site -- and, granted, got off-site
  3 before Major Tool was even involved -- but by taking on the
  4 obligation and becoming the current owner, they had
  5 requirements.
  6              The last thing I want to talk about in this section
  7 is divisibility of the harm.         You were promised that the harm
  8 was divisible.      You were told that if you let Mr. Love come,
  9 he would explain to you why it's divisible.
 10              Divisibility has two requirements.        The Supreme
 11 Court, in Burlington Northern, said there's a threshold
 12 question of whether a harm, not a release, is capable of
 13 apportionment as a matter of law.         The second is a factual
 14 inquiry that must point to a reasonable basis for
 15 apportionment of the harm.
 16              Mr. Love did not do that.       Mr. Love made an
 17 allocation.      He divided the contamination among the sites.
 18 That is not apportioning the harm.          He never did the things
 19 that you would need to do.        He never considered the things
 20 that would tell you where the real harm rested.
 21              Since we have a single commingled plume, the
 22 homeowner who is facing vapor intrusion has no way of telling
 23 which of the contributors to that commingled plume, which of
 24 their molecules is the ones in their house.           There's simply no
 25 way to divide that.       The harm is indivisible, people breathing
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  1 contamination that they shouldn't be breathing.
  2              Now, to say the cause of that might be divisible,
  3 that's what allocation is about.         That's dividing
  4 responsibility.      But from the perspective of the person facing
  5 the harm, it is completely indivisible.           There's no way of
  6 saying, "You pay that.        You pay that.    You pay that."     It
  7 truly is a situation of joint tortfeasors from the perspective
  8 of the homeowner.       It doesn't matter where it came from.          You
  9 can't track individual molecules in the groundwater.
 10              TCE is the harmful contaminant.        He did not divide
 11 between PCE and TCE.       It's all total chlorinated solvents.         So
 12 the thing that poses the greatest risk, 20 times greater risk
 13 than PCE, he treated them all the same.
 14              The shallow groundwater, we heard today from another
 15 witness, the shallow groundwater is what gives off vapor.
 16 That's what causes vapor intrusion.          He treated all the
 17 groundwater, whether it was shallow or deep, all the same.
 18              So that's where I'll end my presentation.          I realize
 19 I have four minutes left for rebuttal.          Thank you.
 20              THE COURT:    Okay.   Thank you very much.
 21              All right.    Who's going next?
 22              Mr. Menkveld, you may.
 23                           CLOSING ARGUMENT BY:

 24              MR. MENKVELD:     Thank you, Your Honor.
 25              Over many days now, it seems, we've obtained a lot
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  1 of evidence that, at this point, is largely fragmented, as is
  2 the case at trial.       But now when we're able to take that
  3 evidence and form it into some sort of a picture, a few things
  4 come into focus and really stand out in high relief.
  5              One of those is that Moran was a very small
  6 contributor to the problem being complained about today.              IDEM
  7 and the other people in the area walked by the Moran property
  8 to deal with the real problem for years and years.
  9              The second thing is that Von Duprin is far and away
 10 the largest contributor to the problem being dealt with in
 11 this lawsuit.      And knowing that, Von Duprin sat on the
 12 sidelines for years.       It was the last to the game.        It was the
 13 last entity involved in this lawsuit to do anything to address
 14 contamination and very specifically remove soils, which it did
 15 just about three months ago before this lawsuit started.
 16              And last, Your Honor, while Major Tool may have done
 17 something good by constructing building 20, what it didn't do
 18 is pay attention to what was underneath building 20.             Major
 19 Tool is not the innocent third party.          It is not the BFPP that
 20 it would lead this Court to believe that it is.
 21              Now, there are two claims being made in this case
 22 against Moran.      One is CERCLA liability under Section 107(a),
 23 which is the cost recovery action, and the other is an ELA
 24 claim.
 25              So for Von Duprin to establish a claim against
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  1 Moran, it has to show that Moran is either the current owner
  2 or operator of one of the properties involved in this lawsuit
  3 or that Moran was an owner or operator of a property at the
  4 time the disposal occurred.        Now, disposal under the statute
  5 just means release, leak, discharge, et cetera.            Under the
  6 ELA, what Von Duprin has to show is that Moran not only caused
  7 or contributed to release of contamination, but Moran's
  8 contribution of release poses a risk to human health or the
  9 environment.
 10              Now, by way of overview, Moran never owns the Ertel
 11 property, never owns the Von Duprin property, owned and
 12 operated on the Moran property, and owned and operated on the
 13 Zimmer property.      But Moran has never denied that it operated
 14 on the Moran property and that it, in fact, used TCE on that
 15 property.     From day one, Moran has admitted that, Your Honor.
 16              With respect to the Zimmer property, Moran hotly
 17 contests, as forceful as you can make it, that it ever used
 18 TCE on that property.       There's no person on the witness stand
 19 with personal knowledge that Moran ever used chlorinated
 20 solvents on that property, that Moran used a degreaser on that
 21 property.     There is no document in the record that was made by
 22 any person who witnessed Moran's operations showing that Moran
 23 used chlorinated solvents on that property.
 24              Moran cannot be liable under the ELA with respect to
 25 the Zimmer property or under CERCLA, under any CERCLA theory,
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  1 Your Honor.
  2              We appreciate the ruling that we received today,
  3 Your Honor, and we're confident that, after the Court has a
  4 chance to review the record, the Court will reach the same
  5 conclusion.
  6              Now, we've said that Moran is liable under CERCLA
  7 for the Moran property, to some extent.           When a PRP is liable
  8 under CERCLA, you can pick one of two paths.           You can accept
  9 that your liability will be joint and several.            In which case,
 10 you have the option of pursuing a contribution action against
 11 other potentially responsible parties or you can show that the
 12 harm is divisible.       And in this case, Your Honor, the Court
 13 has already concluded that divisibility is appropriate as a
 14 matter of law and that Moran is liable only for its share of
 15 the harm committed, that it is not jointly and severally
 16 liable.
 17              Now, because we are operating under the Doctrine of
 18 Divisibility, there are a couple of key points to raise.              One
 19 is the concept of an orphan share, which is a share of harm
 20 that cannot be allocated to any party in this case.             Under the
 21 Divisibility Doctrine, the orphan share that cannot be
 22 allocated to either Major Tool or Moran is borne by the party
 23 in this case, Von Duprin, who has incurred the costs.
 24              Secondly, under divisibility, allocation can be --
 25 or excuse me -- allocation can be made to a defaulter party.
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  1 We have a defaulter party in this case.           It's Zimmer Paper.
  2 Zimmer Paper was the owner and operator of the Zimmer Parcel
  3 and has been defaulted on the substance of this case.             So
  4 Zimmer Paper, the entity, can be allocated a share of harm for
  5 that property that it owned, Your Honor.
  6              Now, Mr. Griggs just stood up and talked about
  7 apportionment under the Divisibility Doctrine.            This is the
  8 second thing that happens after the Court concludes that it
  9 can happen as a matter of law, which the Court has.             Now, the
 10 second step of apportionment is not guided by principles of
 11 equity the way a contribution claim is.           It's guided purely by
 12 principles of causation alone.         Now, apportionment does not
 13 have to be mathematically precise -- a lot of the questions
 14 posed to Dr. Love went to mathematical precision -- but it
 15 must be reasonable.
 16              Dr. Love apportioned harm in this case based on a
 17 variety of factors, including geographic considerations,
 18 contaminants, specific considerations, migratory potential,
 19 and if you have to sometimes you can even use time that the
 20 property owned -- was owned by a particular PRP.            Now, there's
 21 just one apportionment expert in this case who has done this,
 22 and that is Dr. Love.       Dr. Love has shown as a matter of fact
 23 that the harm can be apportioned.
 24              I'm going to address what Mr. Griggs just said as
 25 quickly as I can here.        Historically, what would happen is
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  1 parties would fight over what was driving the remedy as in
  2 what was driving the vapor intrusion problem downstream.              The
  3 courts have throttled back on that and said we're not going to
  4 look at what's driving the remedy; we're going to look at the
  5 contribution from each party, if we can find distinct area of
  6 releases, but we're going to assume that your release is
  7 contributing to the remedy.
  8              So when we talk about people who might be breathing
  9 in vapors, all of those issues have been resolved in Von
 10 Duprin's favor.      You heard questions yesterday going to
 11 whether contamination is migrating from the Moran property or
 12 the Zimmer or Ertel properties down to the extent of the plume
 13 where the vapor intrusion issues are occurring.            Dr. Love
 14 concluded and opined that every single release from an
 15 upgradient property has migrated to the groundwater all the
 16 way to the extent of the plume and is part of the VI problem.
 17              That is how you apportion harm.        You have to give up
 18 a little bit to do it that way as a defendant.            You lose the
 19 arguments that there's no causal link between the release and
 20 the VI downstream.
 21              So, to make this allocation, those issues had to be
 22 revolved in Von Duprin's favor.         The issue of whether DCE is a
 23 problem in this area was resolved in Von Duprin's favor, and
 24 you heard yesterday that DCE was not attributed to Von Duprin
 25 at all.     The same with the type of release, Your Honor, in
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  1 that the levels of contamination downgradient versus
  2 upgradient and whether they cause a VI problem.
  3              In terms of Von Duprin's share, that was done by way
  4 of a groundwater analysis under the Von Duprin property, which
  5 absolutely can be done, because at the Von Duprin property
  6 line is what we see as a result of Von Duprin's operations and
  7 releases there, which is a very big spike in groundwater
  8 contamination, and the type of contamination flops in terms of
  9 dominance.     In terms of upgradient releases, Dr. Love can use
 10 shallow soil impacts, vadose zone impacts, that indicate a
 11 release at those properties and assume that all of those
 12 impacts went all the way down to where their VI issue is
 13 occurring.     That is more than a reasonable basis.         Dr. Love
 14 used multiple methods.        He cross-checked and rechecked his
 15 results and they came out the same.
 16              To that question, I want to say a word about the
 17 smear zone that you've heard a lot about, and the smear zone
 18 is a place in the soil where the groundwater touches, is the
 19 easiest way to say it.        We know that groundwater moves up,
 20 groundwater moves down, and it moves left to right,
 21 horizontally and vertically.         When groundwater is contaminated
 22 and it moves up in the soil, what we say is it smeared
 23 contaminants on the soil, and that's why we call it the smear
 24 zone.
 25              The important point about this is Moran understands
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  1 that there were impacts on the Moran property above the
  2 industrial default closure level, which is the level IDEM
  3 might actually require you to do something, but they were in
  4 the smear zone; they were not in the vadose zone soils.
  5              Now, Von Duprin asks at least two witnesses about
  6 depths to groundwater, but for some reason did not put this
  7 exhibit in front of the witnesses.          This exhibit shows depth
  8 to groundwater on the Moran property, at Monitoring Wells 200
  9 through 202, and shows that depth to groundwater is 9.9 to
 10 10.62 feet.      Any soil sample taken at that depth is a smear
 11 zone groundwater level sample.
 12              We also heard that the excavation on the Moran
 13 property down to 15 feet below ground surface was not a soil
 14 sample, but was a groundwater sample.          We heard that from Von
 15 Duprin.     That, too, is incorrect.      The report that was
 16 referred to during that questioning shows that 15 feet below
 17 ground surface is located at the groundwater saturated zone.
 18              Dr. Love's divisibility conclusion, taking all of
 19 this into account, allocates 3.1 percent to Moran,
 20 28.9 percent to Zimmer, 13.8 percent to Ertel, and
 21 54.2 percent to Von Duprin.
 22              Von Duprin you heard just say there's no analysis as
 23 to the distinction between contaminates, TCE or PCE.             There's
 24 a chart that says otherwise -- that's in evidence -- that
 25 Dr. Love put together.        TCE is 27 percent of the problem, PCE
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  1 is 73 percent of the problem.         TCE, Von Duprin says, is
  2 driving the remedy.       You heard evidence from multiple
  3 witnesses that PCE degrades into TCE.          It starts with four
  4 molecules and it loses one and it becomes TCE over time.
  5              Now, this result that Dr. Love came up with complies
  6 with what we see in the samples of Moran's operational
  7 history.     We know from Sharkey, Phelps, and Letsinger that
  8 Moran never used PCE.       It only used TCE.      It never used TCE at
  9 the Zimmer parcel.       It did not use them in the parts washers.
 10 And even though there was evidence from Mr. Sharkey saying he
 11 doesn't know what was used in the parts washers, what he said
 12 is he knows for sure that it was not TCE because he knows what
 13 TCE is.
 14              Moran used TCE in the degreaser in the motor shop
 15 from 1967 to '74.       That was replaced.     It was recessed into a
 16 pit.    There was another TCE degreaser that was used on the
 17 dine shop, but it was just for a matter of months.             And you
 18 look at the contamination in any soils on the dine shop, and
 19 even a contour you'll see in a minute, there's no problem
 20 coming from Moran's dine shop at all, Your Honor.
 21              So what's the environmental result of these
 22 operations?      Where the motor shop were located, where the pits
 23 were located in the motor ship, pits 1 and 2, they were
 24 drilled through while they were in place, concrete, three feet
 25 thick.     The results were that detection limits taken directly
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  1 below those pits were below detection limits, which means they
  2 could not be detected with the equipment or they were
  3 negligible in all soil borings.
  4              Now, if you want to look at the rest of the Moran
  5 property, we can look at the Exhibit 1112, which shows borings
  6 that were advanced across the entire Moran property.
  7              I will bring your attention here.        That's the
  8 excavation area for the Moran property, the only place where
  9 impacts above IDCLs were found, and they were found in the
 10 smear zone.
 11              COURT REPORTER:     I'm sorry.    I lost you.
 12              MR. MENVELD:     The only place, Your Honor, where soil
 13 samples on the Moran property were found above industrial
 14 default closure levels, and they were found in the smear zone.
 15              You'll see the excavation area includes the alley.
 16 Moran did not have operations in the alley.           That is
 17 indicative of the groundwater flow south to southwest.             The
 18 impacted soil samples are a result of groundwater flow coming
 19 from the north.
 20              And as far as the results of the data are concerned,
 21 we know the exact number of vadose zone soil impacts above
 22 industrial default closure levels on the Moran property.              The
 23 number is zero.      The Moran soil is removed as nonhazardous.
 24 This supports and brings Love's apportionment to Moran into
 25 focus.
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  1              Another point to be made with respect to data found
  2 on the Moran property.        It shows that any release on Moran did
  3 not pose a risk to human health or the environment.             That's an
  4 essential element under the ELA.         It's also necessary for a
  5 CERCLA plaintiff to show that a release attributable to Moran
  6 required the incurrence of costs.         In other words, it was
  7 necessary.     That is the definition of necessary, is whether it
  8 poses a risk to human health or the environment.
  9              And let's contrast this against release data on the
 10 Von Duprin property.       PCE, 45,100 parts per billion.        TCE,
 11 14,800 parts per billion.        Here's a comparison.      That's a two
 12 to three orders of magnitude higher on the Von Duprin property
 13 versus the Moran property.        On the Ertel site and the Zimmer
 14 Parcel, you see also very high numbers, well above industrial
 15 default closure levels, two to three or more magnitudes higher
 16 than anything found on the Moran property.
 17              And to be sure, Your Honor, let's look at the
 18 contour map that is part of Von Duprin's exhibit.            This was a
 19 contour that was established by using a number in consultation
 20 with IDEM.
 21              This is the Moran dine shop.       It's not even within
 22 the contour map.      This is the Moran motor shop.        The contour
 23 line cuts off the northwestern side of the motor shop.
 24              We've heard from several experts that TCE, when it's
 25 released, travels downward and it keeps going down.             And when
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  1 it hits groundwater, it starts to pancake out.            So what you
  2 see when you look at a contour like this is an area of
  3 release, which we know to be the case.          The Zimmer property,
  4 you see, is in the middle of the contour, the southern part of
  5 Ertel -- I'm not doing a good job with my arrows -- which is
  6 in the middle of the contour.         You don't see the portion of
  7 Moran where any pit was located to be in the middle of a
  8 contour.     What you see, for sure, is Von Duprin right smack in
  9 the middle of the biggest, widest, nastiest part of the
 10 contour on this map.
 11              Now, at the beginning of this case, Von Duprin's
 12 first witness was Mr. Eiler.         Mr. Eiler attempted and did
 13 testify that there were no -- or at least he was not aware of
 14 operations on the Von Duprin property that even used TCE or
 15 PCE.
 16              Now, former Moran -- or excuse me -- a former Von
 17 Duprin employee took the stand, Mr. Fye, and explained that
 18 Von Duprin in fact used a large Detrex degreaser and used TCE.
 19 Now, what do the documents say?         Your Honor may remember
 20 looking at this document, where Mr. Eiler said, "I can't read
 21 this," and Your Honor said, "I can," and it shows that Von
 22 Duprin was disposing of perchloroethylene.
 23              Another disposal document put into evidence shows
 24 Von Duprin disposed of perchloroethylene and specifically
 25 references Detrex PERC.
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  1              Regarding TCE, we have a document in the record that
  2 shows Von Duprin disposing of 630 gallons total of TCE on just
  3 one occasion.
  4              And then to round it out, we have a document showing
  5 that Von Duprin did in fact use degreasing solvents in its
  6 operations.      So any idea that Von Duprin did not use TCE or
  7 PCE in its operations is just not the case.
  8              Now, Von Duprin's refusal to even acknowledge its
  9 operations has carried over into its remediation efforts.
 10 Mr. Eiler testified that he began looking for documents when
 11 notified of a lawsuit in 2010.         Von Duprin did not perform
 12 investigations until it received a special notice liability
 13 letter in 2013.      And as I stated earlier, soils were not
 14 removed from the Von Duprin property until just a few months
 15 ago.    Until then, the community just sat on it, and Von Duprin
 16 did nothing.
 17              We'll look at a soil removal comparison here.          You
 18 can see for Moran, Ertel, and the Zimmer sites, contaminated
 19 soils were found in a certain year and were removed within a
 20 year or at about the one-year mark.
 21              Contaminated soils were discovered on the Von Duprin
 22 property in 2008 and removed in 2019, more than a decade
 23 later.     Even if you give Von Duprin the benefit of the doubt
 24 of bumping the discovery up to 2010 when Mr. Eiler started
 25 looking for documents, you're still looking at a nine-year
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  1 delay before the source of contamination there was removed.
  2              Now, Major Tool performed the removal of the soils
  3 on the Moran property.        It's important to note, Your Honor,
  4 that Moran has reimbursed Major Tool more than -- that says
  5 1.1.    That should say $1.2 million.
  6              There was some testimony that Moran sat and did
  7 nothing.     That is not true.
  8              Divisibility with respect to Major Tool.          We heard,
  9 Your Honor, an expert, I believe it was just this morning, say
 10 that Major Tool would be apportioned a zero percent share.
 11 Under divisibility, that is not permitted, under the case that
 12 I cited at the bottom of this slide.          A CERCLA defendant
 13 cannot apportion itself a zero percent share under the
 14 Divisibility Doctrine.        The reason is because, if you step up
 15 as a defendant and say, "Look, I'm liable for some percent,
 16 not all of it but some percent, and I can show you what that
 17 percentage is," you can't give yourself a zero percent share.
 18 To do so would undermine the strict liability feature of
 19 CERCLA.
 20              If you own or operate a property, if you are the
 21 current owner or operator of a property, you are strictly
 22 liable under CERCLA regardless of your innocence.
 23              Major Tool strictly liable under CERCLA as the
 24 current owner and operator and as an owner at the time the
 25 disposal occurred.       Major Tool is currently the owner and
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  1 operator of these properties, the Ertel site and the Zimmer
  2 property, and there's evidence from Mr. Groves that there was,
  3 in fact, a release of chlorinated solvents, and the deed is in
  4 the record showing that Major Tool owned the property at the
  5 time of that release.
  6              Now, compare that with Moran.        Moran never owned the
  7 Ertel site, is not the current owner or operator of the Ertel
  8 site or the Zimmer Parcel.        And, again, Your Honor, there is
  9 zero evidence showing that a release occurred on the Zimmer
 10 Parcel during Moran's period of ownership, zero evidence
 11 showing that Moran used degreasers on that property.
 12              For Major Tool to come away with zero percent
 13 apportionment, it has to establish a defense that's recognized
 14 under CERCLA that's either the innocent landowner defense or
 15 the bona fide prospective purchaser defense.           To avail itself
 16 of the innocent landowner defense, Major Tool has to show that
 17 it exercised due care with respect to hazardous substances,
 18 which we know existed below the Ertel and Zimmer parcels.              It
 19 also has to take precautions against foreseeable acts by any
 20 third parties that lead to foreseeable consequences.
 21              The comfort letter that has been put into evidence,
 22 Exhibit 1192, shows what Major Tool has to do to receive BFPP
 23 status.     That includes not impeding the performance of a
 24 response action, stopping a continuing release, preventing or
 25 limiting human environmental or natural resource exposure, and
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  1 then there are some communication requirements.
  2              Mr. Griggs also just went through what it means for
  3 Major Tool because it indemnified Moran for certain potential
  4 future remediation on the Moran and the Zimmer properties, so
  5 I won't duplicate that now.
  6              So now we have to ask:      Can Major Tool be one of
  7 these things, an innocent third party -- excuse me -- an
  8 innocent party -- excuse me -- innocent landowner or a BFPP?
  9              We are not taking away from Major Tool the benefits
 10 of building 20 at all.        If that were the end of the story, we
 11 wouldn't be here, or maybe Major Tool wouldn't be here with
 12 respect to contamination continuing to flow off-site.
 13              The problem here, when you look at the whole story,
 14 is that Major Tool did not construct building 20 out of the
 15 pureness of its heart.        It did it to make money.      And in doing
 16 so, it rushed the remediation of the Ertel and Zimmer
 17 properties to obtain a financial incentive.
 18              Your Honor, you saw these pretty disgusting pictures
 19 at trial.     This is what preceded Major's building 20.          In
 20 circumstances like this, we know that there are environmental
 21 problems.     And in fact, the data showed and the evidence
 22 showed that Major had knowledge of impacts as high as 82,000
 23 parts per billion on those properties in August of 2007.
 24              And after that, Major Tool entered into a contract
 25 with a company named USEC.        And in that contract, Major Tool
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  1 received financial incentives or contracted to receive
  2 financial incentives if it had its building constructed and
  3 operational by a certain day.         Major Tool then used the dates
  4 in that agreement to establish the dates in the project
  5 agreement with the City of Indianapolis to perform soil
  6 excavation.      So the financial incentive date drove the
  7 remediation dates.       In other words, Major Tool subordinated
  8 proper remediation of these properties to construct building
  9 20, and it did that to obtain a financial incentive.
 10              Now, the Zimmer parcel was not placed into a cleanup
 11 program.     There's knowledge that a 16,000-gallon UST was
 12 leaking when it was removed, according to Ryan Groves.             There
 13 was no soil testing of the UST removal area that anyone can
 14 locate.     And we know there's evidence that there was a leaking
 15 drum found on the Zimmer Parcel during removal.            That actually
 16 belonged to the Zimmer entity.
 17              And with that knowledge, Major actually avoided an
 18 environmental problem.        Mr. Vijay, who took the stand
 19 yesterday, was sent an e-mail explaining that there was a
 20 concern about deep groundwater testing and how that could turn
 21 up further issues.       Mr. Vijay's response was, "We can ensure
 22 that our random samples don't uncover further issues."             The
 23 explanation for this e-mail was that it was a joke.             There's
 24 nothing about this e-mail that indicates that it's a joke,
 25 even a terrible joke.
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  1              And true to his word, Mr. Vijay delivered the
  2 results, deep soil boring samples, for the Ertel and Zimmer
  3 property, that did show impacts above industrial default
  4 closure levels, but nothing that concerned IDEM too much, at
  5 least to halt remediation and construction of the building.
  6              Now, Major Tool could have done more to investigate,
  7 but it didn't.      It turned the lights out on remediation.
  8 There was no investigation to determine migration of
  9 contaminants to downgradient properties.           There were no wells
 10 sampled between the Ertel and Zimmer properties and Moran
 11 before a NFA was issued for the Ertel site.           Major Tool
 12 refused to let Moran on that property to investigate and had
 13 to be compelled by the Marion Superior Court.            There's an
 14 agreed order that establishes cleanup levels for the Ertel
 15 site.
 16              By the way, the Moran property is included in the
 17 site that was supposed to be cleaned up using funds that were
 18 received by a settlement agreement.          You'll see that in our
 19 findings, Your Honor.
 20              Mr. Meyer, who we have an e-mail from, pushed IDEM
 21 to close the site before Major Tool's option to purchase the
 22 Ertel site expired at the end of 2012.          Mr. Vijay echoed that
 23 request to IDEM and sent a letter shortly thereafter.             And
 24 sure enough, at the end of 2012, IDEM issued a NFA letter in
 25 November of that year.
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  1              Upon the issuance of that NFA letter, the money that
  2 was allocated to cleaning up these properties was gone.
  3 $860,000 earmarked for remediating the Ertel site was gone,
  4 used for other purposes.
  5              You heard through the testimony given that that NFA
  6 letter, the Marion County Superior Court has held that the
  7 terms of the agreed order were not met, the cleanup standards
  8 were not met.
  9              Now, as part of a related lawsuit, Moran and Major
 10 Tool did enter into an agreement, a settlement agreement.
 11 Moran and Major Tool volunteered -- this is where Moran and
 12 Major Tool both stepped up -- to enter into the Voluntary
 13 Remediation Program.       That application was rejected.        It's a
 14 bit of a mystery as to why.        I expect that we will find out
 15 going forward.      But at this point, it is inexplicable.
 16              One key feature of that settlement agreement, which
 17 has been brought up before, is that Major did agree to
 18 indemnify Moran for certain things, which does defeat BFPP
 19 status.     So Major Tool is strictly liable under CERCLA.          It
 20 cannot assert the innocent landowner defense, and it cannot
 21 assert the BFPP defense for the properties here.
 22              Damages.    There's an issue as to damages of
 23 $1.5 million.      Under multiple theories, those are not
 24 recoverable.      They were not put into evidence.        No NCP
 25 compliance.      Those are settlement costs.       If Von Duprin wanted
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  1 to recover those, it could have asserted a contribution claim.
  2 It did not.      Those are not recoverable under any ELA theory.
  3              The second set of damages, the $1.7 million and
  4 change made up by the Geosyntec invoices, which has major NCP
  5 compliance problems which we'll flesh out in our findings and
  6 conclusions.
  7              As to future costs, there's zero evidence in the
  8 record pertaining to future costs.
  9              Your Honor, Moran is a small part of this; Von
 10 Duprin is a very big part of this; and Major Tool is not off
 11 the hook.
 12              Thank you, Your Honor.
 13              THE COURT:    Okay.   Thank you very much.
 14              All right, Ms. Krahulik.
 15                           CLOSING ARGUMENT BY:

 16              MS. KRAHULIK:     Thank you, and may it please the
 17 Court.
 18              I know the fact that the polluters of these
 19 properties are standing here and pointing the finger at each
 20 other and at Major Tool is not lost on this Court.
 21              Major Tool and Machine isn't only a world class
 22 manufacturer; it's a growing Indianapolis employer that
 23 provides its employees excellent wages and opportunities.              It
 24 trains its workforce and provides products needed to the
 25 aerospace, defense, transportation, and other industries.              But
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  1 not only that, Major Tool is an excellent member of the
  2 Martindale-Brightwood community.         It's made its home there for
  3 half a century and it hopes to be there for many generations
  4 to come.
  5              Major Tool and its real estate holding entity, which
  6 is called Major Holdings -- and I'm going to refer to both of
  7 them as Major Tool for purposes of my argument -- has
  8 strategically acquired properties near their manufacturing
  9 operations over the year -- over the years.           They've expanded
 10 those capabilities.       They've expanded their workforce.        And
 11 every single instance, Major Tool knew that those properties
 12 were blighted Brownfields, and Major Tool knew they were
 13 likely impacted by the previous industrial use by companies
 14 just like Moran and Von Duprin.         And Major Tool conducted due
 15 diligence as to each and every one of those properties,
 16 conducting what we've heard is called all appropriate
 17 inquiries by engaging in environmental consultants to perform
 18 Phase I environmental site assessments and other
 19 investigations, all before Major Tool ever leased or acquired
 20 any of these properties.
 21              And Major Tool has redeveloped some of these
 22 properties already, put them back to productive use,
 23 eliminated blight, created jobs, and beautified the overall
 24 area.
 25              Now, while all of these things are admirable and the
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  1 all appropriate inquiry activities of Major Tool entitle it to
  2 legal protections against claims just like the ones that have
  3 been asserted here under CERCLA, the real distinguishing
  4 factor as to Major Tool in this case is that Major Tool never
  5 caused or contributed to any of the contamination at issue.
  6 There's no allegation of that and there's no evidence of that.
  7              Better yet, Major Tool has voluntarily and within a
  8 very short time of acquiring these properties contaminated by
  9 others performed remedial activities, eliminated contamination
 10 sources, stopped continuing migration of contamination.             And
 11 while it did that, it communicated with the regulators,
 12 including Indiana Brownfields and IDEM, and it spent
 13 considerable time and resources in its efforts.
 14              And you've heard from Natalie Weir, from Nivas
 15 Vijay, from Rob Walker about these significant efforts, their
 16 results, and the documentation of the all appropriate
 17 inquiries, which establish the defenses to CERCLA, which is in
 18 the record before this Court.
 19              Now, let's talk a little bit about these properties.
 20 We've seen this map a whole lot in this litigation.
 21              Let's talk, first, about the Moran property.          Moran,
 22 as it is -- as Mr. Menkveld just told you, used chlorinated
 23 solvents, had a degreaser, actually two degreasers at this
 24 property.
 25              Major Tool, the Court has already found, is a BFPP
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  1 entitled to CERCLA liability protection for this property, and
  2 I don't believe the record will reflect a date of any lease on
  3 the property.      In fact, Ms. Weir, when asked about a lease,
  4 wasn't aware of its terms or when it began.           There's no
  5 evidence of this, and the Court's ruling on BFPP status for
  6 that property should stand, and the considerable efforts of
  7 Major Tool in removing over 4,000 tons of soil at that
  8 property should be recognized.
  9              Secondly, there's the Zimmer packaging property.
 10 Not much to say about that, other than there is a comfort
 11 letter associated with that property, and the Court has found,
 12 as a matter of law, Major Tool and Machine is a BFPP with
 13 respect to that property, as well.
 14              And we've heard a whole lot in the litigation about
 15 the Zimmer Paper property or what I believe we could aptly
 16 call Moran north, because Moran is the only party other than
 17 Zimmer that operated there, operated there from at least 1967
 18 to 1984 while it owned the property.          And Mr. Walker has
 19 referred to it in his report as the Moran Electric rewind
 20 shop.
 21              That property was operated both by Zimmer and Moran.
 22 And at that property, Major Tool removed 7,350 tons of
 23 impacted soil.      And as you heard from Mr. Vijay, he twice
 24 requested a no-further-action letter, along with closure for
 25 Ertel.     In fact, the City of Indianapolis, in its project
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  1 agreement with Major Tool, which is in evidence, agreed to
  2 obtain closure on that property, along with the Ertel
  3 property, as part of the overall redevelopment of the area.
  4              Now, as to Ertel, we've seen the before pictures.
  5 We've seen the after pictures.         It's an amazing success story.
  6 37,000 tons of soil were removed from that property.             And not
  7 only that, Major Tool and Machine requested a comfort letter,
  8 which was issued by IDEM, related to that property, which
  9 specifically sets out that Major Tool and Machine has met the
 10 requirements for BFPP protection, and that site is closed.
 11 IDEM has issued a no-further-action letter for that site.              It
 12 is found in documents before this Court that the site no
 13 longer poses a threat to human health or the environment.              And
 14 in fact, IDEM has ordered that the monitoring wells associated
 15 with that site be closed, and nothing else needs to be done.
 16              Now, Major Tool and Machine built on that property,
 17 including this vapor mitigation system, which we've talked
 18 about at length, which is now operating in a passive state due
 19 to the decreased levels of any vapor issues, and it built this
 20 building.     And did it build this building to make parts and
 21 make money?      Yes.   But it did something, which is more than we
 22 can say for anyone else in this room.
 23              THE COURT:    Is it in the plume, the big plume
 24 picture?     Is that facility still in the plume?
 25              MS. KRAHULIK:     It would be -- I would have to look
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  1 at the picture.      I would assume that where the building sits
  2 is either at the edge or near, or it could be on it.
  3              THE COURT:    In the plume map?
  4              MS. KRAHULIK:     In the plume map of the vapor.       And
  5 that's why it has a vapor mitigation system, Your Honor,
  6 because IDEM wanted to protect against any vapor impacts to
  7 the occupants of the building before it closed the property.
  8              And, in fact, counsel for the former occupant of the
  9 Von Duprin property went to IDEM in 2013 and said, "Hey, we
 10 want what Ertel got.       What do we need to do that," and IDEM
 11 responded with a comparison of the Ertel site, which had been
 12 closed, and the Threaded Rod, the former Von Duprin site.              And
 13 the contrast between the two is stark.
 14              In conclusion of that letter, which was written by
 15 one of our witnesses, Mr. Ryan Groves, he said there wouldn't
 16 be any cleanup required at Threaded Rod, Von Duprin, if the
 17 Ertel groundwater contamination was the only source of
 18 contamination on the Threaded Rod/Von Duprin site, and he said
 19 he looked forward to working with Threaded Rod to bring that
 20 property to a remediation import point where, like Ertel, it
 21 no longer poses a threat to human health and the environment.
 22              Now, let's talk a little bit about the Von Duprin
 23 property.     Von Duprin has also admittedly used chlorinated
 24 solvents, degreasers in its operations.           Contamination was
 25 first noted there in 2018, and no on-site remediation was
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  1 undertaken until 2019.
  2              Mr. Fye, who testified, I thought, gave us a very
  3 good idea of the type of operations that Von Duprin and the
  4 specific mechanisms for some of the releases to the surface
  5 and into the groundwater there.         He talked about a large
  6 degreaser, a Detrex, I think, is what he called it, degreaser.
  7 And my favorite part about his testimony was when he told us
  8 that the degreaser was not only located within this footprint,
  9 but it was situated along the east wall of the Von Duprin
 10 facility, smack up against Andrew J. Brown Avenue, and, in
 11 fact, Your Honor, right where Von Duprin claims off-site
 12 impacts from upgradient properties are coming onto their
 13 property.
 14              You've already heard a lot about this, but the
 15 difference in the levels of contaminants at these properties
 16 tells a real story.
 17              Now, the Court has the, I guess, unenviable task of
 18 figuring out how to divide the responsibility among the
 19 parties in this case.       But as to Major Tool and Machine, at
 20 every avenue -- and there are several different ways the Court
 21 can get there -- the answer as to Major Tool is zero.
 22              The Court can look at liability considerations.           And
 23 as to liability, the Court would look at the BFPP protections,
 24 could look at the fact that Von Duprin has not demonstrated
 25 NCP compliance, and can find that the Major Tool defendants
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  1 should get a zero share of any responsibility, and the Court
  2 could stop its analysis there as to Major Tool.
  3              However, if the Court moves on to apportionment, it
  4 can also find zero percent, and Rob Walker testified to that.
  5              Likewise, if the Court considers allocation -- and
  6 that's where equitable considerations come in, what's fair,
  7 what's right -- certainly can come to a zero percent share for
  8 Major Tool.
  9              Let's talk, first, about the liability aspects of
 10 this.     While the polluters want to try to poke holes in Major
 11 Tool's BFPP defense, if we look at the CERCLA defenses,
 12 including the BFPP defense, and the reason that Congress
 13 enacted legislation with those defenses, it was enacted to
 14 prevent barriers for parties like Major Tool from purchasing
 15 and cleaning up these properties that others had contaminated
 16 in industrial use.       It was to remove those barriers, remove
 17 the fear of ending up somewhere just like this trying to
 18 defend those actions, and it provided important protections to
 19 give the parties purchasing those sites confidence.             And not
 20 only did it provide those protections, but they needed to be
 21 achievable.
 22              As to Ertel, the Court has in the record now not
 23 only the Phase I that was performed before a lease was ever
 24 entered, a Phase I that was entered into before purchasing --
 25 and the Court, by the way -- Mr. Griggs said the Court has
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  1 ruled that Major Tool is not a BFPP.          I actually think what
  2 the Court has found is questions of fact remain for trial
  3 regarding BFPP status.
  4              And even not looking at these two environmental
  5 investigations that Major Tool performed on that property,
  6 IDEM answers the question for us.         IDEM issued a comfort
  7 letter to Major Tool saying that it was a BFPP for the Ertel
  8 property, eligible for the BFPP exemption from liability.
  9 That other parties' deflections to the contrary are just that.
 10              As to Zimmer, the Court has before it the Phase I
 11 that was performed in November of 2006.           Major Tool took title
 12 to that property just a couple of months later in January of
 13 2007.     We believe it has been established that Major Tool is a
 14 BFPP for the Zimmer property.
 15              However, there was some question, I believe, at the
 16 summary judgment stage, as to whether certain sections of the
 17 Code of Federal Regulations had been complied with and the
 18 performance of the Phase I investigation of the Zimmer Paper
 19 property.     And, in fact, EPA has guidance on this very issue.
 20 The EPA's final all appropriate inquiries rule finds that, if
 21 a person conducts all appropriate inquiries and they use the
 22 procedures that are outlined in the American Society for
 23 Testing and Materials Standard applicable at that time -- and
 24 in 2006, it was ASTM E1527-05, that complies with all
 25 appropriate inquiries for purposes of BFPP protection or other
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  1 CERCLA liability protections.
  2              The reporting requirements don't require that you
  3 run through every CFR section.         But if you do cite the
  4 applicable ASTM standard, you have complied, according to the
  5 EPA guidance.
  6              Now, I have to address this.       I think this is kind
  7 of a red-herring type argument, because the other parties want
  8 the benefit of this agreement, but then they want to argue and
  9 try to use it against Major Tool for purpose of its BFPP
 10 status.
 11              It's been argued that the settlement agreement
 12 between Moran and Major Tool is a disqualifier to BFPP status,
 13 and that's simply not true, for a couple of reasons.             The
 14 agreement itself states, in no uncertain terms -- and those
 15 terms aren't redacted -- that it has no effect upon the claims
 16 asserted by the parties in this specific litigation or
 17 anything to do with the Von Duprin property.
 18              Now, the EPA has, in fact, identified where certain
 19 contractual relationships are disqualifiers for BFPP status,
 20 and it has also identified specifically affiliations it does
 21 not treat as disqualifying, and those include specifically
 22 post-acquisition contractual relationships between a purchaser
 23 of a property and a responsible party, like Moran, that came
 24 into being after the purchase and sale of the property.
 25 That's exactly what this is.         It's not a disqualifying
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  1 relationship.      And you note that there was no authority
  2 provided for those assertions.
  3              Mr. Menkveld talked about the National Contingency
  4 Plan, and it's a very dry subject, but the fact of the matter
  5 is, Von Duprin chose to bring its action for recovery of its
  6 costs under CERCLA.       And as a result, it is absolutely
  7 required to show that it complied with the NCP in order to
  8 place liability on any other party.          It did not do so.
  9              And we're not just talking about public
 10 participation.      We are talking about multiple, multiple
 11 sections of the NCP that were not complied with, and that
 12 there's no evidence to demonstrate that Von Duprin's costs are
 13 recoverable.      It didn't comply at all, let alone substantially
 14 comply, Your Honor.
 15              And when Von Duprin says they are not seeking costs
 16 related to their site alone, Major Tool takes issue with that,
 17 because we believe the vapor intrusion costs that are sought
 18 in Von Duprin's recovery do relate to their site alone, based
 19 on the magnitude of the contamination of that site, and that
 20 those response costs would be required regardless of any
 21 upgradient contamination.
 22              Now, we got into the subject, I think, with
 23 Dr. Love, a little bit, about allocation and apportionment.
 24 And Von Duprin included this quote in one of its briefs, and I
 25 think it's really helpful, because it explains it in terms at
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  1 least that I can understand, that apportionment is to request
  2 separate checks, with each party paying only for its own meal,
  3 and to allocate is to take that bill, unitemized, and ask
  4 everyone to chip in what's fair.
  5              Here, Your Honor, I would submit to the Court that
  6 Moran and Von Duprin showed up, ate a big dinner, pushed back
  7 from the table, and left the dishes for Major Tool to clean
  8 up.
  9              Von Duprin has argued that you can't consider
 10 causation.     But that's just not the case.        In apportionment,
 11 at the divisibility stage, causation comes into play.             And
 12 parties can, in fact, be apportioned a zero percent share at
 13 the divisibility stage.
 14              In looking at apportionment as to Major Tool,
 15 there's really two questions that have to be asked.             Is the
 16 harm at issue capable of apportionment as to Major Tool?              The
 17 answer is yes.      And then what portion of the harm, the harm,
 18 is attributable to Major Tool?         And as Rob Walker testified,
 19 that is zero percent.       And there's no evidence to the contrary
 20 in the record.
 21              Now, should the Court find that the liability
 22 defenses or Von Duprin's failure to prove its compliance with
 23 the NCP aren't enough, or that apportionment isn't enough as
 24 to Major Tool, we get to allocation, and allocation brings in
 25 equity, concepts of fairness.         It's allocating the relative
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  1 fault of the parties to that party.
  2              We heard a lot about the Gore factors with respect
  3 to allocation.      The Court can consider all of these factors;
  4 it can consider some; it can give weight to whatever factors
  5 it finds most applicable to the particular case.            However, I
  6 would submit to the Court that multiple of these factors weigh
  7 in favor of a zero percent finding of responsibility to Major
  8 Tool.
  9              In looking at these, the first is the ability of the
 10 parties to demonstrate that fair contribution to a discharge
 11 release or disposal of a hazardous substance can be
 12 distinguished.      Major Tool had no contribution.        No one
 13 asserts otherwise.       That leads to a zero percent conclusion.
 14              The degree of involvement by the parties in the
 15 generation, transportation, treatment, storage, or disposal of
 16 the substance.      Major Tool had no involvement.
 17              The degree of care exercised with respect to the
 18 substance involved, taking into account the characteristics of
 19 the substance.      Your Honor, you heard testimony and you've
 20 seen documentation that, within a year, at most, of acquiring
 21 each of these properties, Major Tool performed significant
 22 remedial activities, has continued to monitor the properties,
 23 and has asked for closure from the regulators.
 24              And that plays into number 6, the degree of
 25 cooperation with federal, state, or local officials.             There
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  1 was never any issue between Major Tool and IDEM until it
  2 received a demand for compliance in 2018.           All of these things
  3 that it's been doing have been in concert with regulators from
  4 the very beginning and the start of the Ertel project.
  5              There was a comment that Major Tool refused to let
  6 Moran onto the property.        And, Your Honor, I believe Natalie
  7 Weir testified that was because the plan that was being
  8 presented would have, we believed, damaged the vapor
  9 mitigation system, and we had to get comfortable and get a
 10 court to order that the plan to perform that investigation
 11 would not take away from the past efforts that had been made
 12 on that site.
 13              Now, I don't want the Court to leave this case with
 14 the impression that, even if it, under any of these analyses,
 15 gives zero to Major Tool, Major Tool has no further
 16 involvement and just walks off into the sunset.            Major Tool's
 17 good stewardship as a community member and as an employer and
 18 as a property owner will continue.          In fact, Major Tool is
 19 obligated to resolve its issues with IDEM and to obtain
 20 closure on its properties and has every intention to do so.
 21              Now, in looking at allocation, courts in the Seventh
 22 Circuit and many other jurisdictions have found that where it
 23 is the fair and equitable and right thing to do, a zero
 24 percent allocation as to a party is appropriate.            That is both
 25 in cases where the party had no involvement whatsoever with
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  1 the contamination and even in some cases where the property
  2 owner had some minimal involvement, but not enough to rise to
  3 the level of allocating it responsibility.
  4              If you just look at fairness and what makes sense
  5 and what is equitable, I think it is clear that the conclusion
  6 as to Major Tool is that it should not be held liable.
  7              Mr. Menkveld talked about orphaned shares, but I
  8 just want to mention the fact that I believe, as the party
  9 seeking recovery of costs in this action, Von Duprin bears the
 10 burden of establishing that Zimmer Paper is either insolvent,
 11 immune from suit, bankrupt, or doesn't have assets to satisfy
 12 any judgment that would be rendered in this case.            And, in
 13 fact, there's no evidence that's been presented to that.              And
 14 Moran is a perfect example of this.          It is an administratively
 15 dissolved corporation who is here.          So I believe the Court
 16 should consider that in the allocation of any orphan share.
 17 Simply not appearing in court doesn't mean it is an orphan
 18 share.
 19              And because the Court has found here that the harm
 20 is divisible, as Mr. Menkveld stated, the burden of response
 21 costs for any orphan share are to be borne by the party who
 22 incurred them.      That's a ruling from the Fourth Circuit, and
 23 any orphan share costs should be borne by Von Duprin.
 24              Finally, I want to talk a little bit about Von
 25 Duprin's costs, because I kept wondering where they were
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  1 during this trial.       March 2018 was the last update we received
  2 as to any costs, and the reason offered for that at trial was
  3 a discovery cutoff in this case.         However, even though the
  4 parties couldn't proffer additional discovery requests after
  5 that date, the obligations under the rules require each party
  6 to continue to supplement their responses, and so I would
  7 submit to the Court that all of those costs, up to the current
  8 date and under existing discovery that was proffered long ago,
  9 should have been provided, and weren't.           Again, Von Duprin has
 10 not proven that its costs were necessary response costs, and
 11 it hasn't demonstrated which costs were incurred in responding
 12 to releases from upgradient properties as opposed to its own
 13 property.
 14              It also hasn't offered any documentary evidence of
 15 attorneys' fees.      We've not seen any bills.       We've just heard
 16 about settlement amounts and amounts that Von Duprin has
 17 allegedly incurred, but there is no evidence in the record for
 18 which the Court can consider that request for these.
 19              I guess, in closing, there are many roads that the
 20 road -- or many roads that the Court can take in considering
 21 the responsibility in this case as to Major Tool, and they all
 22 lead to a zero share conclusion.
 23              Liability.    Major Tool has established liability
 24 defenses.     Von Duprin has failed to prove their case under the
 25 statute they chose to proceed under.
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  1              Under apportionment, it is possible to have a
  2 zero percent share, and Mr. Walker says, as to Major Tool,
  3 it's zero.
  4              Allocation.    What's fair, what's right?       Major Tool
  5 should not be held responsible for the mess that was created
  6 by these other two parties who then walked away.            And, in
  7 fact, I would ask:       What more could Major Tool have done?         Yet
  8 we're here.      The effect of holding parties just like Major
  9 Tool responsible after they've done everything at every step
 10 of the way, tried to cover their bases, tried to help
 11 situations, would disincentivize any redevelopment of
 12 Brownfields and would continue the blight of neighborhoods.
 13 We would not be able to acquire these without fear of ending
 14 up a defendant in a lawsuit just like this one.            So any way
 15 you slice it, Major Tool should not be held responsible for
 16 any of Von Duprin's alleged damages.
 17              Thank you.
 18              THE COURT:    Thank you.
 19              And, Mr. Griggs, you have about four minutes.
 20                           CLOSING ARGUMENT BY:

 21              MR. GRIGGS:    Thank you, Your Honor.
 22              Buying blighted Brownfields can result in CERCLA
 23 liability under Section 107(a)(1).          To become the current
 24 owner of contaminated property makes you liable.
 25              Can you take special care to avoid that liability?
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  1 Yes.    That's what the BFPP and the innocent landowner defense
  2 are about.     But the burden is on the person acquiring the
  3 property to establish that they have done that correctly.
  4 That didn't happen in this case three times, three different
  5 properties.      They failed each time.
  6              Major theorizes -- no evidence, just theory -- that
  7 maybe the molecules from Ertel, Zimmer, and Moran didn't make
  8 it down to those residential homes, even though they had
  9 decades to get there, because the only evidence we have in the
 10 soil and groundwater is essentially from around 2004 or '5
 11 until 2017.      All the witnesses have indicated that they don't
 12 know what happened before that.
 13              You could see the mess in the pictures at Ertel.
 14 That problem didn't happen the day before they left.             All of
 15 these -- all of these industrial operations tended to have the
 16 same problems.      I'm not surprised that all four of these
 17 properties had releases that reached groundwater, because all
 18 four of them operated in a similar fashion at the time.
 19              So to say -- I mean, the only evidence in the record
 20 is the molecules did get together in a single plume.             And once
 21 they're together, you can't identify where they came from.              So
 22 to say, "I shouldn't have to pay anything because you can't
 23 prove that my molecules, the one that the person is breathing
 24 at 1746 Alvord," I don't think is the correct analysis.
 25              We heard that there was apportionment that occurred
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  1 in this case.      But if you remember the testimony of Dr. Love,
  2 he says that he uses the words apportionment, allocation, and
  3 divisibility interchangeably.         He doesn't know the difference.
  4              He never said divisibility of the harm in his expert
  5 report, not once.       He never said divisibility of the harm in
  6 his deposition, which lasted hours, not once.            His errata
  7 sheet, or errata letter, as it turned out to be, never
  8 mentioned divisibility of the harm.          It's not until summary
  9 judgment, in fact in a reply brief on summary judgment, that
 10 an affidavit or declaration from Mr. Love was attached that,
 11 for the first time, said, "I meant divisibility of the harm."
 12 I'm not buying it.       Neither should the Court.
 13              I think Mr. Menkveld misspoke.        He said Von Duprin
 14 is the biggest contributor.        I think he meant the site,
 15 because all the evidence in the case -- and they've been very
 16 careful to guard this -- is that the work done by Mr. Love,
 17 the allocation, is on a site-by-site basis, not on
 18 a party-by-party basis.        He's not saying, I hope, that Von
 19 Duprin, the plaintiff, should be assigned 54 percent.             All the
 20 evidence is that the site, the Von Duprin site, might be
 21 responsible for 54 percent.        And we know from Dr. Love and
 22 others that there are nonparties, like dry cleaners, who are
 23 not here, who may have operated on or near the Von Duprin
 24 property and certainly would explain the large quantity of PCE
 25 that is found there.
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  1              We would ask the Court not only to use the Gore
  2 factors to equitably divide the liability among the parties,
  3 but we also have a second CERCLA count for declaratory
  4 judgment as to any future costs, that those would be divided
  5 by the Court as well.
  6              Thank you.
  7              THE COURT:    Thank you, Counsel.
  8              So, lawyers, when you do your proposed findings of
  9 fact, would you discuss the declaratory issue, also, all
 10 right?
 11              Okay.   Let's get some dates real quick.        The court
 12 reporters -- we can have two methods.          We can do an aggressive
 13 method and get you a ruling before September 30th or not.
 14              Have any of you ever had a federal clerkship?          And
 15 this is a big secret.       But in the federal system, cases that
 16 are three years of age or older, we have to report those to
 17 Congress, so our goal is to try to dispose of cases within the
 18 three-year period.       This case will be three-year reportable on
 19 September the 30th.
 20              Now, if we can get you -- the court reporters, if we
 21 go on the aggressive track -- and I'll let you guys tell me
 22 which track you want to do.        If your clients want a ruling --
 23 I'm sure that Ms. Weir probably wants to go on the fast
 24 track -- but we can have the transcripts from the trial from
 25 the court reporters -- David, can you think -- do you need two
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  1 weeks or three weeks?       I know it's a lot of complex terms.
  2 The court reporter says he can do it in two weeks, so we can
  3 have transcripts for you by August -- let's see --
  4 August 15th.      And, then, lawyers, that would mean, if you
  5 could get me your proposed findings of fact, if I give you
  6 three weeks -- I could give you three weeks, September 5th, or
  7 four weeks, September 12th.
  8              MS. KRAHULIK:     Either is fine with the Major Tool
  9 defendants.
 10              MR. BOWMAN:    We would prefer the 12th.
 11              THE COURT:    Can you do it by the 12th, Mr. Griggs?
 12              MR. GRIGGS:    Yes, by the 12th, we can.
 13              THE COURT:    All right.    If you guys can get your
 14 proposed findings of fact and conclusions of law by September
 15 the 12th, we'll get you guys a ruling by September the 30th,
 16 so we'll do the aggressive track.
 17              All right, Lawyers.      Is there anything else,
 18 Lawyers, before we adjourn?
 19              MS. KRAHULIK:     No, Your Honor.
 20              MR. BOWMAN:    Thank you.    Nothing.
 21              THE COURT:    Well, I just want to compliment you
 22 lawyers.     You all did a very good job, and it was a pleasure
 23 having you in court.       I appreciate your civility.       We had
 24 these two opposing defendants sitting at the table together,
 25 and you all did great.        And we were efficient.      Even though we
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  1 had some gaps, we were able to take care of other business,
  2 all of us.     And you guys were very professional, so I do
  3 appreciate having you all in court.
  4              Does anyone know anything about JTV Hill, who the
  5 JTV Hill Park is named after?
  6              MR. KAMPLAIN:     No.
  7              THE COURT:    JTV Hill was the first African-American
  8 attorney to practice law in Indianapolis.           He wasn't the
  9 first in the state of Indiana, but he was one of the first in
 10 Indiana, and he went to what's now McKinney and graduated in
 11 1882.
 12              MS. KRAHULIK:     Oh, wow.
 13              THE COURT:    So it's a big deal that we get that
 14 court -- keep that facility clean and get rid of all that
 15 contamination.
 16              All right, Lawyers.      We are adjourned, and we'll get
 17 an entry with all those deadlines, and we'll get this case
 18 wrapped up shortly.
 19              MR. BOWMAN:    Thank you, Your Honor.       It's been a
 20 pleasure.
 21              THE COURT:    Thank you all.
 22              THE COURTROOM DEPUTY:      All rise.
 23              (Proceedings adjourned at 2:41 p.m.)
 24
 25
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  1                      CERTIFICATE OF COURT REPORTER

  2
  3        I, David W. Moxley, hereby certify that the

  4 foregoing is a true and correct transcript from
  5 reported proceedings in the above-entitled matter.
  6
  7
  8 /S/ David W. Moxley                         August 13, 2019.
      DAVID W. MOXLEY, RMR/CRR/CMRS
  9   Official Court Reporter
      Southern District of Indiana
 10   Indianapolis Division

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